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 11   RON BENDER (SBN 143364)
      MONICA Y. KIM (SBN 180139)
 22   KRIKOR J. MESHEFEJIAN (SBN 255030)
 33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
      10250 Constellation Boulevard, Suite 1700
 44   Los Angeles, California 90067
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 55   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com
 66   Attorneys for Chapter 11 Debtors
 77   and Debtors in Possession

 88                               UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
 99                                 SAN FERNANDO VALLEY DIVISION

10
10    In re:                                              Lead Case No.: 1:17-bk-12408-MB
                                                          Jointly administered with:
11
11    ICPW LIQUIDATION CORPORATION, a                     1:17-bk-12409-MB
      California corporation1,
12
12
                                                          Chapter 11 Cases
13
13             Debtor and Debtor in Possession.
      ____________________________________
14
14    In re:                                              FINAL APPLICATION OF STUBBS,
                                                          ALDERTON & MARKILES, LLP FOR
15
15    ICPW LIQUIDATION CORPORATION, a                     APPROVAL    OF      FEES    AND
      Nevada corporation2,                                REIMBURSEMENT    OF    EXPENSES;
16
16                                                        DECLARATION OF SCOTT ALDERTON,
                                                          ESQ.
17
17             Debtor and Debtor in Possession.
      ____________________________________
18
18                                                        DATE:     May 1, 2018
           Affects both Debtors                           TIME:     2:30 p.m.
19
19
                                                          PLACE:    Courtroom “303”
20      Affects Ironclad Performance Wear                           21041 Burbank Blvd.
20
      Corporation, a California corporation only                    Woodland Hills, CA
21
21
        Affects Ironclad Performance Wear
22
22    Corporation, a Nevada corporation only
23
23
24
24
25
25
26
26
      1
27
27        Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
28
28

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 1
                STUBBS, ALDERTON & MARKILES, LLP (“SAM”), special counsel to ICPW
 2
      Liquidation Corporation, a California corporation, formerly known as Ironclad Performance Wear
 3
      Corporation, a California corporation, and ICPW Liquidation Corporation, a Nevada corporation,
 4
      formerly known as Ironclad Performance Wear Corporation, a Nevada corporation, the debtors and
 5
      debtors-in-possession in the above-captioned Chapter 11 bankruptcy cases (collectively, the
 6
      “Debtors”), hereby submits its Final Application for Approval of Fees and Reimbursement of
 7
      Expenses (the “Application”) for services rendered and expenses incurred for the period of
 8
      September 8, 2017 (the date of the Debtors’ chapter 11 bankruptcy filings) through February 28,
 9
      2018 (the effective date of the confirmed Joint Plan of Liquidation) (the “Covered Period”).3 Any
10
      opposition or responsive paper must be filed and served at least fourteen (14) days prior to the
11
      hearing on this Application in the form required by Local Bankruptcy Rule 9013-1(f).
12
                                                     I.
13
                                     INTRODUCTORY STATEMENT
14
                In order to efficiently manage these chapter 11 cases, the Debtors filed and obtained
15
      orders of the Court jointly administering these chapter 11 cases. Consistent with the terms of
16
      SAM’s employment application which was approved by the Court, SAM has billed all of its time
17
      in its representation of the Debtors to one collective billing number. These bankruptcy cases
18
      have for all practical purposes been operated on a consolidated basis.
19
                                                      II.
20
                                                 SUMMARY
21

22        Name of applicant                                SAM
23        Name of client                                   ICPW Liquidation Corporation, a California
24                                                         corporation, formerly known as Ironclad
                                                           Performance Wear Corporation, a California
25                                                         corporation; and ICPW Liquidation
                                                           Corporation, a Nevada corporation, formerly
26
      3
27     This Application also includes some time incurred in March and April 2018 in connection with
      preparing this Application, and estimated fees of $1,950.00 in connection with finalizing this
28    Application and appearing at the hearing on this Application.

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 1                                                       known as Ironclad Performance Wear
                                                         Corporation, a Nevada corporation (the
 2                                                       “Debtors”)
 3     Time period covered by this application           Start: September 8, 2017
                                                         End: February 28, 2018
 4
       Total compensation sought this period             $175,652.50 + $1,950.00 estimated fees for
 5                                                       attending hearing on Fee Application
       Total expenses sought this period                 $12,590.80
 6

 7     Petition date                                     The Debtors commenced their chapter 11
                                                         bankruptcy cases with the filing of voluntary
 8                                                       petitions under chapter 11 of the Bankruptcy
                                                         Code on September 8, 2017
 9     Retention date                                    September 8, 2017
10
       Date of entry of order approving employment  November 8, 2017 (as docket number 189)
11                                                  with employment effective as of September 8,
                                                    2017
12     Total compensation approved by interim order $112,763.00
       to date
13

14     Total expenses approved by interim order to       $6,484.77
       date
15
       Total allowed compensation paid to date           $112,763.00
16     Total allowed expenses paid to date               $6,484.77
17
       Blended rate in this application for all          $584.20
18     attorneys

19     Blended rate in this application for all          $537.66
       timekeepers
20

21     Compensation sought in this application           N/A
       already paid pursuant to a monthly
22     compensation order but not yet allowed
       Expenses sought in this application already       N/A
23     paid pursuant to a monthly compensation
24     order but not yet allowed
       Number of professionals included in this          8 attorneys and 3 paralegals
25     application

26

27

28

                                                     2
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 1
                                                    III.
 2
                           FEES AND EXPENSES INCURRED AND NOTICE
 3
      A.     REQUEST         FOR     ALLOWANCE             AND   PAYMENT       OF     FEES     AND
 4
             REIMBURSEMENT OF EXPENSES
 5
             During the Covered Period, SAM incurred fees in the amount of $175,652.50 and
 6
      expenses in the amount of $12,590.80 for total fees and expenses in the amount of $188,243.30.
 7
      This Application also includes some time incurred in March and April 2018 in connection with
 8
      preparing this Application, and estimated fees of $1,950.00 in connection with finalizing this
 9
      Application and appearing at the hearing on this Application. Pursuant to that certain Order
10
      Granting Applications For Approval Of Fees And Reimbursement Of Expenses Of Professionals
11
      Employed In These Chapter 11 Cases (the “Interim Fee Order”) [Docket No. 337], to date, SAM
12
      has been paid $119,247.77 of this amount by the Debtors. By way of this Application, SAM is
13
      seeking the Court’s approval on a final basis of all of the foregoing fees and expenses, and
14
      payment of the unpaid amount of fees and expenses.
15
      B.     PROPER NOTICE
16
             SAM understands that the Debtors’ bankruptcy counsel has served notice of this
17
      Application and the amount of fees and expenses sought herein upon the Debtors, all creditors,4
18
      the Official Committee of Unsecured Creditors and its counsel, the Official Committee of Equity
19
      Holders and its counsel, the Office of the United States Trustee, and all parties who have
20
      requested special notice.
21
                                                    IV.
22
                     STATEMENT OF FACTS AND RELEVANT INFORMATION
23
      A.     Background Information.
24
             SAM incorporates by reference the background information set forth in the final fee
25
      application of Levene, Neale, Bender, Yoo & Brill L.L.P.
26

27
      4
       All creditors means all creditors who are scheduled by the Debtors as being owed money and/or
28    who have filed a timely proof of claim.

                                                     3
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 1
      B.     Retention and Date of the Entry of the Order Approving the Debtors’ Employment
 2
             of SAM.
 3
             The Debtors’ retained SAM to serve as their special corporate and securities, special
 4
      trademark, and special litigation, counsel, effective as of the Petition Date, and subject to the
 5
      terms of SAM’s stipulation with the Official Committee of Equity Holders, to render, among
 6
      others, the following types of professional services:
 7
                     a.      advising and representing the Debtors in connection with any litigation
 8
      matters which may arise or which involve the Debtors, except as otherwise set forth in SAM’s
 9
      employment order;
10
                     b.      advising the Debtors with regard to, and representing the Debtors in the
11
      areas of, corporate law, corporate governance, corporate matters, and securities matters;
12
                     c.      advising and representing the Debtors in connection with Securities and
13
      Exchange Commission regulatory compliance, including, but not limited to the following:
14
                            i.      Exchange Act Reports. SAM will review and comment on the
15
                             Debtors’ Forms 10-K and Forms 10-Q, based on drafts completed by
16
                             management, and, in consultation with management, will prepare Forms 8-
17
                             K, Forms 3, 4 and 5, and Schedules 13D and 13G for approved individuals
18
                             and investors.   SAM will assist the Debtors in ensuring that all such
19
                             Exchange Act reports are in compliance with applicable Securities and
20
                             Exchange Commission rules.
21
                           ii.      Annual Proxy Statements. SAM will prepare a Proxy Statement for
22
                             the Debtors’ annual meeting of shareholders with respect to proposals for
23
                             the election of directors, the adoption of compensation plans and any
24
                             amendments thereto, and charter document amendments.            Shareholder
25
                             proposals and special matters, such as mergers and acquisitions, and new
26
                             compensation plans, will be billed separately on an hourly basis.
27

28

                                                       4
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 1
                     iii.         Routine SEC Communications. SAM will be responsible for all
 2
                           routine communications with the Securities and Exchange Commission
 3
                           with respect to the Debtors’ Exchange Act filings.
 4
                     iv.          Securities Due Diligence. SAM will be principally responsible for
 5
                           conducting due diligence on behalf of the Debtors’ Board of Directors and
 6
                        in collecting the necessary documents and information for inclusion in the
 7
                        Debtors’ Exchange Act filings.
 8
                      v.          Year End Obligations. SAM will monitor and assist the Debtors in
 9
                        meeting the Debtors’ year-end disclosure and annual shareholder meeting
10
                           obligations, including preparation and continued monitoring of a Year-End
11
                           Time and Responsibility Schedule, and having overall responsibility for the
12
                           entire timetable of the year-end process.
13
                     vi.          D&O Questionnaires. SAM will prepare and distribute Directors’
14
                           and Officers’ Questionnaires to assist the Debtors in complying with the
15
                           Debtors’ disclosure obligations.
16
                     vii.         Rule 144 Opinions. At the Debtors’ instruction, SAM will prepare
17
                           Rule 144 opinion letters to the Debtors’ transfer agent in connection with
18
                           Rule 144 sales.
19
                    viii.         Press Release and Reg. FD. SAM will advise the Debtors with
20
                           respect to press releases, all of which SAM will review, and Regulation FD
21
                           compliance.
22
                     ix.          Board and Shareholder Meetings. SAM will attend Shareholder
23
                           Meetings and quarterly Board meetings, and will prepare Board minutes
24
                           and written consents.
25
                      x.          Coordination with Auditors.          SAM will coordinate with the
26
                           Debtors’ accountants as to the timing of the preparation of the Debtors’
27
                           financial statements and related financial disclosure and will review the
28

                                                     5
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 1
                             accountants’ management representation letters and other correspondence
 2
                             with the company;
 3
                     d.      legal services in connection with commercial and contractual and similar
 4
      transactional matters and assisting the Debtors in connection with their expected sale efforts;
 5
                     e.      advising the Debtors with regard to, and representing the Debtors in
 6
      connection with, registering trademarks, and undertaking trademark enforcement measures, both
 7
      domestically and internationally, and
 8
                     f.      performing any other services which may be appropriate in SAM’s
 9
      representation of the Debtors relating to corporate and securities law, trademark law and general
10
      business litigation during their bankruptcy cases.
11
             The Court approved the Debtors’ employment of SAM pursuant to the terms of the order
12
      entered on November 8, 2017, as docket number 189.
13
      C.     Fees and Expenses Previously Requested.
14
             On November 21, 2017, SAM filed that certain First Interim Application Of Stubbs,
15
      Alderton & Markiles LLP For Approval Of Fees And Reimbursement Of Expenses [Docket No.
16
      234]. Pursuant to the Interim Fee Application, SAM requested Court approval and payment of
17
      fees in the amount of $112,763.00, and expenses in the amount of $6,484.77, for total fees and
18
      expenses of $119,247.77, covering the period of September 8, 2017 through and including
19
      November 20, 2017. On December 13, 2017, the Court entered the Interim Fee Order approving
20
      the Interim Fee Application.
21
      D.     Brief Narrative Statement of Services Rendered, Time Expended, and Fee Charged.
22
             In connection with the services SAM provided to the Debtors post-petition, SAM placed
23
      its time entries for fees into one of four categories. These categories consist of (1) corporate and
24
      securities matters; (2) intellectual property matters; (3) litigation matters; and (4) miscellaneous
25
      bankruptcy matters.5 Inevitably, certain time entries do not fit neatly into any one category while
26
      5
27      SAM does not typically categorize its fees to this extent, but has done so in these cases in order
      to provide further organization and clarity to the services provided by SAM, and in order to ease
28    the Court’s and other parties’ review of this Application.

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 1
      other time entries cross over into more than one category. SAM did its best to place time entries
 2
      into categories which accurately reflect the work performed. However, it is inevitable that there
 3
      will be some time entries that have been placed into the incorrect category or where various time
 4
      entries dealing with the same subject matter have been placed into multiple categories.
 5
      References below made to the “Covered Period” shall mean the period of September 8, 2017
 6
      through February 28, 2018.6
 7
             1.      Corporate and Securities Matters
 8
             During the Covered Period, SAM billed 196.1 hours and incurred $111,846.00 of fees in
 9
      this category. Among other tasks, SAM assisted the Debtors in connection with all of the
10
      Debtors’ Securities and Exchange Commission (“SEC”) compliance obligations, including
11
      researching and analyzing the Debtors’ SEC compliance obligations, particularly in connection
12
      with the Debtors’ bankruptcy filings, preparing and filing disclosures with the SEC, advising the
13
      Debtors in connection with the Debtors’ SEC obligations, discussing SEC matters and requests
14
      with the Debtors and other counsel, reviewing and responding to correspondence regarding public
15
      reporting requirements, and preparing press releases in conformance with the Debtors’ disclosures
16
      to the SEC.
17
             Additionally, SAM handled various corporate governance matters, including preparing
18
      consent forms for the Debtors’ board of directors in connection with actions taken by the Debtors,
19
      attending Board meetings and draft minutes of Board meetings, preparing corporate agreements
20
      with employees, handling obtaining shareholder lists and related information, and communicating
21
      with the Debtors’ management regarding these matters.
22
             Additionally, SAM served an instrumental role in connection with the Debtors’ sale and
23
      sale closing efforts, including in connection with assisting the Debtors with preparing non-
24
      disclosure agreements and coordinating the execution of such agreements, reviewing the Debtors’
25
      sale pleadings and the sale order, serving as a lead party in connection with preparing many of the
26
      6
27     This Application also includes some time incurred in March and April 2018 in connection with
      preparing this Application, and estimated fees of $1,950.00 in connection with finalizing this
28    Application and appearing at the hearing on this Application.

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 1
      documents necessary to close a sale of the Debtors’ assets, including patent and trademark
 2
      assignment forms, a bill of sale, and various other closing documents, and reviewing and
 3
      responding to correspondence regarding the Debtors’ sale efforts and sale filings. SAM worked
 4
      closely with the purchaser’s counsel in connection with successfully closing a sale in an
 5
      expeditious manner, handled sale emergencies as they arose, such as in connection with
 6
      negotiating and preparing two amendments to the asset purchase agreement with the purchaser of
 7
      the Debtors’ assets, and handling changes to the Debtors’ corporate name with the Secretaries of
 8
      the States of California and Nevada. SAM also assisted the Debtors’ management in connection
 9
      with negotiations leading up to the sale of assets, such as with Grainger.
10
             Finally, SAM handled many of the corporate governance and related issues in connection
11
      with the Debtors’ confirmed plan of reorganization, including various stock trading issues
12
      involving the SEC and FINRA, issues related to stock options and the cancellation of stock
13
      options, and the preparation of plan language to address stock trading and related issues. SAM
14
      participated in conference with counsel to the Equity Committee and worked closely with such
15
      counsel in connection with crafting and implementing a process to address stock trading and
16
      establish a stock trading halt date. SAM prepared an option cancellation notice pursuant to the
17
      terms of the Debtors’ stock options plan and prepared required SEC disclosures and releases
18
      regarding such matters. SAM also prepared required disclosures in connection with the Joint Plan
19
      of Liquidation and the order confirming the Plan. SAM also served the lead role in addressing
20
      immediate post-confirmation corporate governance issues, such as conducting research regarding
21
      the deregistration process for the Debtors, corresponding with management and directors
22
      regarding their resignations, drafting post-confirmation agreements and amendments to
23
      registration statements, and addressing dissolution matters with counsel to the Equity Committee.
24
             2.      Intellectual Property Matters
25
             During the Covered Period, SAM billed 34.6 hours and incurred $8,720.00 of fees in this
26
      category. Among other tasks, SAM handled the preservation and protection of the Debtors’
27
      intellectual property, including by preparing a detailed trademark report for the Debtors’
28

                                                       8
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 1
      worldwide trademark, preparing revisions to intellectual property registrations, filing new
 2
      trademark applications as required, tracking the status of the Debtors’ trademarks and addressing
 3
      issues in connection with the Debtors’ trademarks as such issues arose, handling the prosecution
 4
      of the Debtors’ intellectual property rights as necessary, and communicating with the Debtors’
 5
      management in connection with intellectual property matters.       Additionally, SAM prepared
 6
      detailed correspondence regarding a list of all trademarks and instructions for upcoming
 7
      deadlines.
 8
             3.      Litigation
 9
             During the Covered Period, SAM billed 24.0 hours and incurred $10,584.00 of fees in this
10
      category. Among other tasks, SAM assisted the Debtors in connection with SEC requests for
11
      information, and the production of documents to the SEC, communicated with the Debtors and
12
      other counsel regarding SEC investigative matters, reviewed and analyzed potential claims
13
      against former accountants, and reviewed and analyzed the Debtors’ insurance policies and,
14
      preliminarily, potential director and officer claims. SAM also researched legal issues related to
15
      potential claims.
16
             4.      Miscellaneous Bankruptcy Matters
17
             During the Covered Period, SAM billed 72.0 hours and incurred $44,502.50 of fees in this
18
      category.    Among other tasks, SAM assisted the Debtors with their bankruptcy filings by
19
      providing information necessary for the Debtors to complete disclosures and filings in the
20
      Debtors’ bankruptcy cases, SAM expended time handling the Debtors’ application to employ
21
      SAM and resolving the Equity Committee’s limited objection to the employment application, and
22
      SAM reviewed relevant bankruptcy pleadings at the request of the Debtors and the Debtors’
23
      bankruptcy counsel in order to ensure that such filings accurately portrayed the Debtors’
24
      corporate status and operations.    SAM served as an invaluable resource to the Debtors’
25
      professionals given SAM’s institutional knowledge of the Debtors and the Debtors’ history.
26
      SAM’s involvement allowed for the efficient and effective transmission of critical information to
27
      the Debtors’ management and other professionals.
28

                                                     9
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 1
             SAM also served as an invaluable and critical resource to the Debtors and the Debtors’
 2
      bankruptcy counsel in connection with preparing, confirming, and implementing the Joint Plan of
 3
      Liquidation in these cases. In addition to the tasks performed by SAM in the “Corporate and
 4
      Securities Matters” category described above, SAM also reviewed and evaluated various
 5
      documents in connection with the plan, including draft distribution projections.
 6
      E.     Detailed Listing of All Time Spent By the Professional on the Matter for Which
 7
             Compensation is Sought.
 8
             Attached as Exhibit “1” to the annexed Declaration of Scott Alderton is a detailed listing
 9
      of all time that SAM spent during the Covered Period for which SAM seeks compensation,
10
      including the date SAM rendered the service, a description of the service, the amount of time
11
      spent and a designation of the person who rendered the service for the period of time for the
12
      Covered Period. Also included in Exhibit “1” is a summary of the hours and fees charged by each
13
      of SAM’s attorneys that performed services for the Debtors. Also included in Exhibit “1” is a
14
      breakdown of time entries into the activity codes specifically utilized by SAM in these cases.
15
      There is one listing of all time that SAM spent during the Covered Period (along with time entries
16
      in March and April 2018 in connection with preparing this Application, and an estimated
17
      $1,950.00 in connection with finalizing this Application attending a hearing on this Application).
18
      F.     Detailed Listing of Expenses By Category.
19
             Attached hereto as Exhibit “2” is a listing and itemization of all expenses that SAM
20
      advanced on behalf of the Debtors during these cases. These include service fees incurred in
21
      connection with preserving intellectual property. All expenses that SAM advanced on behalf of
22
      the Debtors were necessarily incurred and are properly charged as administrative expenses of the
23
      Debtors’ chapter 11 estates.
24
      G.     Description of Professional Education and Experience.
25
             SAM is comprised of attorneys who specialize in the area of corporate and securities law,
26
      trademark law and general business litigation. A copy of SAM’s firm resume is attached as
27
      Exhibit “3” to this Application. SAM billed its time for its representation of the Debtors’ on an
28

                                                      10
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 1
      hourly basis in accordance with SAM’s “Emerging Growth” hourly billing rates (which are
 2
      approximately $50 per hour less than SAM’s standard hourly billing rates). A listing of SAM’s
 3
      applicable hourly billing rates is attached as Exhibit “4” to this Application.7
 4
      H.     Source and Amount of Cash Available to Pay SAM’s Allowed Fees and Expenses.
 5
             SAM incorporates the information set forth in the fee application filed by the Debtors’
 6
      bankruptcy counsel, in connection with this topic.
 7
                                                        V.
 8
                                            STANDARD OF LAW
 9
             Prior to the enactment of the Bankruptcy Code, the rule with respect to compensation
10
      requests in the Ninth Circuit was that the Bankruptcy Court should award attorneys’ fees in
11
      accordance with a “strict rule of economy test.” In re THC Financial Corp., 659 F.2d 951, 955
12
      n.2 (9th Cir.1981), cert. denied, 456 U.S. 977 (1982). This is no longer the law. The legislative
13
      history to section 330 of the Bankruptcy Code indicates that Congress was primarily concerned
14
      with protecting the public interest in the smooth, efficient operation of the bankruptcy system by
15
      encouraging competent bankruptcy specialists to remain in the field. First National Bank of
16
      Chicago v. Committee of Creditors Holding Unsecured Claims (In re Powerline Oil Co.), 71 B.R.
17
      767, 770 (Bankr. 9th Cir. 1986); In re Baldwin-United Corp., 79 B.R. 321, 346 (Bankr.S.D.Ohio
18
      1987). Toward this end, Congress specifically disavowed notions of economy of administration,
19
      and provided that compensation in bankruptcy case should be comparable to what is charged in
20
      nonbankruptcy matters. Id. at 346.
21
             Under the lodestar approach, the Court is to determine the number of hours reasonably
22
      expended in an attorney’s representation of a debtor and multiply such number by a reasonable
23
      hourly rate for the services performed. See Delaware Valley Citizens’ Council for Clear Air, 478
24
      U.S. at 565; In re Powerline Oil Co., 71 B.R. at 770. A reasonable hourly rate is presumptively
25

26    7
        It has come to SAM’s attention that certain of the billing rates that were set forth in the billing
27    rate sheets attached as exhibits to SAM’s Employment Application and First Interim Fee
      Application are different than SAM’s actual billing rates. The billing rates set forth in Exhibit “4”
28    constitute the correct billing rates.

                                                        11
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 1
      the rate the marketplace pays for the services rendered. Missouri v. Jenkins by Agyei, 491 U.S.
 2
      274, 109 S.Ct. 2463, 2469 (1989); Burgess v. Klenske (In re Manoa Finance Co., Inc.) 853 F.2d
 3
      687, 691 (9th Cir.1988). Recognizing that the determination of an appropriate “market rate” for
 4
      the services of a lawyer is inherently difficult, the Supreme Court stated:
 5                    Market prices of commodities and most services are determined
                      by supply and demand. In this traditional sense there is no such
 6                    thing as a prevailing market rate for the service of lawyers in a
 7                    particular community. The type of services rendered by lawyers,
                      as well as its experience, skill, and reputation, varies extensively --
 8                    even within a law firm. Accordingly, the hourly rates of lawyers
                      in private practice also vary widely. The fees charged often are
 9                    based on the product of hours devoted to the representation
                      multiplied by the lawyer’s customary rate.
10

11    Blum v. Stenson, 465 U.S. 886, 895 n.11 (1984). The Supreme Court has stated that a reasonable
12    attorney’s fee “means a fee that would have been deemed reasonable if billed to affluent plaintiffs
13    by its own attorneys.” Missouri v. Jenkins by Agyei, 109 S.Ct. at 2470 (quoting City of Riverside
14    v. Rivera, 477 U.S. 561, 591 (1986) (Rehnquist, J. dissenting)). Accordingly, a reasonable hourly
15    rate is the hourly amount to which attorneys in the area with comparable skill, experience and
16    reputation typically would be entitled as compensation. Blum v. Stenson, 465 U.S. at 895 n.11.
17           SAM respectfully submits that the hourly rates for its attorneys and paraprofessionals and
18    the total amount of fees and expenses incurred are reasonable and appropriate in the relevant
19    community and in view of the circumstances of, and successful results that SAM helped achieve
20    in these cases. SAM served an instrumental and critical role in these cases, serving as a source of
21    critical information, assisting the Debtors with their reporting and SEC compliance obligations,
22    handling all of the Debtors’ corporate governance needs, assisting the Debtors’ preparation of sale
23    documents required to close a sale transaction, and assisting the Debtors’ with closing a sale
24    transaction.   SAM also assisted the Debtors’ preserve and protect the Debtors’ intellectual
25    property, and handle various litigation matters. SAM also served a critical role in connection with
26    preparing the Joint Plan of Liquidation and developing a comprehensive strategy to address
27    various stock trading issues in connection with the Joint Plan. SAM worked closely with the
28

                                                        12
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 1
      Debtors’ bankruptcy counsel and the Equity Committee’s counsel in connection with such matters
 2
      and served as an invaluable resource in connection with addressing the requirements of the SEC
 3
      and FINRA in connection with the Joint Plan.
 4
             SAM put forth an extraordinary amount of effort addressing all of the Debtors’ needs in a
 5
      high pressure environment where emergency matters arose and were professionally and
 6
      successfully addressed by SAM. SAM charged the Debtors SAM’s “Emerging Growth” rates
 7
      that were negotiated by and between the Debtors and SAM and which reflect a reduced billing
 8
      rate as compared with SAM’s standard hourly billing rates, which are comparable and
 9
      commensurate with the billing rates of similar corporate and securities, intellectual property, and
10
      general litigation firms.
11
             SAM respectfully submits that the foregoing establishes that SAM’s requested fees and
12
      expenses are reasonable and appropriate and should be approved by the Court.
13
                                                     VI.
14
                                              CONCLUSION
15
             WHEREFORE, SAM respectfully requests that this Court enter an order:
16
             1.      Approving on a final basis fees of $175,652.50 and expenses of $12,590.80 for total
17
      fees and expenses of $188,243.30 incurred during the Covered Period, plus an estimated $1,950 in
18
      connection with finalizing this Application and appearing at the hearing on the Application, and
19
      authorizing SAM to be paid any amounts that are unpaid from the funds in these estates; and
20
             2.      Granting such other and further relief as the Court deems just and proper.
21    Dated: April 3, 2018                         LEVENE, NEALE, BENDER, YOO & BRILL
                                                   L.L.P.
22

23
                                                   By        /s/ Krikor J. Meshefejian
24                                                           RON BENDER
                                                             LEVENE, NEALE, BENDER, YOO
25                                                           & BRILL L.L.P.
                                                             Attorneys for Chapter 11 Debtors and
26                                                           Debtors in Possessions
27

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 1
                                DECLARATION OF SCOTT ALDERTON
 2
             I, Scott Alderton, hereby declare as follows:
 3
             1.      I have personal knowledge of the facts set forth below and, if called to testify,
 4
      would and could competently testify thereto. Capitalized terms not otherwise defined herein shall
 5
      have the same meaning as ascribed to such terms in the Fee Application to which this Declaration
 6
      is attached (the “Application”).
 7
             2.      I am a partner of Stubbs Alderton & Markiles, LLP (“SAM”), the Debtors’
 8
      corporate and securities, trademark, and litigation counsel.
 9
             3.      I make this Declaration in support of SAM’s Final Application for Approval of
10
      Fees and Reimbursement of Expenses (the “Application”) to which this Declaration is attached.
11
      This Application pertains to services rendered and expenses incurred by SAM during the period
12
      of September 8, 2017 (the date of the Debtors’ chapter 11 bankruptcy filings) through February
13
      28, 2018 (the “Covered Period”), plus the fees and costs in connection with preparing and
14
      appearing at a hearing on the Application.
15
             4.      To the best of my knowledge, information and belief, all of the matters stated in
16
      the Application are true and correct, and the Application complies with all applicable statutes,
17
      rules, regulations and procedures.
18
             5.      The amounts requested in the Application for compensation of fees and
19
      reimbursement of expenses incurred are based on SAM’s business records, which are kept and
20
      maintained by SAM in the ordinary course of SAM’s business.
21
             6.      All expenses for outside services such as photocopying services, messenger and
22
      express mail services, postage and research services (Lexis and Westlaw) for which SAM
23
      requests reimbursement are the actual expenses incurred by SAM for such services, and SAM
24
      does not seek any additional amounts or profits with respect thereto.
25
             7.      Attached hereto as Exhibit “1” is a detailed listing of all time entries for services
26
      performed, a summary of services performed, and specific descriptions of services performed,
27
      during the Covered Period.
28

                                                       14
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 1
                 8.     Attached hereto as Exhibit      "2" is a detailed listing of all expenses incurred by
 2
     SAM during the Covered Period (recognizing that there are at times delays between the date that
 3
     expenses are incurred by SAM and when they are entered into SAM's           billing system).
 4
                 9.     Attached hereto as Exhibit "3" is a copy of SAM's firm resume and the resumes         of
 5
     its professionals and paraprofessionals.
 6
                 10.    Attached hereto as Exhibit "4" is a listing of the applicable hourly billing rates of
 1
      SAM'   s   professionals and paraprofessionals.
 I
                 I declare under penalty of perjury under the laws                 States of America that the
 9
     foregoing is true and correct. Executed this 3rd day of                  , at Los Angeles, California.
10

11                                                                         ALDERTON, ESQ.
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                    EXHIBIT "1"
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                   Trans               H Tcode/                   Hours
Client             Date         Tmkr   P Task Code   Rate         to Bill          Amount                                                                                   Ref #     Corp/Securities   IP   Litigation   Misc. Bankruptcy

Timekeeper 1 Scott Alderton
IRONCLAD.22        09/11/2017      1   A    1               650             3.60 $          2,340.00    Attention to multiple issues in bankruptcy filings [1.3]; review    ARCH           3.10                                0.50
                                                                                                        Craig-Hallum Engagement Letter [0.5]; review Auction Sale
                                                                                                        Notice [0.5]; review Bid Procedures Order [0.5]; review Request
                                                                                                        to file Letter Under Seal [0.3]; review Emergency Motions
                                                                                                        and Bid Procedures [0.5].
IRONCLAD.22        09/12/2017      1   A    1               650             2.20 $          1,430.00    Discussion with Skadden regarding SEC Matters [0.7];                ARCH           1.40                                0.80
                                                                                                        telephone call with Director Padnos[0.7]; review bankruptcy
                                                                                                        issues with Mr. Fritz [0.5]; review stay letters [0.3].
IRONCLAD.22        09/14/2017      1   A    1               650             1.90 $          1,235.00    Attention to SEC issues and D&O insurance claims [0.6];             ARCH           1.90
                                                                                                        multiple phone calls [1.3].
IRONCLAD.22        09/18/2017      1   A    1               650             1.70 $          1,105.00    Telephone call with Mr. DiGregorio [0.7]; review issues             ARCH           1.20                                0.50
                                                                                                        relating to Australia Distributor and other BK matters [0.5];
                                                                                                        analysis of D&O Policy and begin preparing response [0.5].
IRONCLAD.22        09/20/2017      1   A    1               650             2.20 $          1,430.00    Multiple calls with client to discuss BDO and SEC                   ARCH           2.20
                                                                                                        issues [0.8]; conference call with BDO and Skadden lawyers [0.8];
                                                                                                        follow up call with Skadden lawyers [0.6].
IRONCLAD.22        09/23/2017      1   A    1               650             1.20 $            780.00    Review BDO Materials [0.3]; attend call with counsel, Mike          ARCH           1.20
                                                                                                        DiGregorio [0.9].
IRONCLAD.22        09/25/2017      1   A    1               650             1.90 $          1,235.00    Multiple calls with Skadden and client [1.0]; review SEC            ARCH           1.90
                                                                                                        response [0.4]; attention to 8K [0.5].
IRONCLAD.22        09/27/2017      1   A    1               650             2.50 $          1,625.00    Review 8K [0.5]; review Employment Application [0.5]; telephone     ARCH           1.50                                1.00
                                                                                                        call with clients [1.0]; attention to multiple BK, insurance,
                                                                                                        accounting and other issues [0.5].
IRONCLAD.22        09/28/2017      1   A    1               650             0.70 $            455.00    Multiple calls with BK counsel and management team. [0.7]           ARCH           0.70
                                                                                                        Ironclad Performance Wear Corp.
                                                                                                        Ironclad Bankruptcy Proceedings
IRONCLAD.22        10/04/2017      1   P    1               650             2.50 $          1,625.00    Review Board deck and participate on Board Call [1.0];              ARCH           2.50
                                                                                                        attention to D&O Claim response [0.5]; telephone call with
                                                                                                        Mr. Dillon[1.0].
IRONCLAD.22        10/09/2017      1   P    1               650             0.50 $            325.00    Telephone call with counsel and Mr. Gruelich. [0.5]                 ARCH           0.50
IRONCLAD.22        10/11/2017      1   P    1               650             0.40 $            260.00    Telephone call with Mr. Bender. [0.4]                               ARCH           0.40
IRONCLAD.22        10/11/2017      1   P    1               650             0.80 $            520.00    Meeting with Mr. Sherman and Mr. Elan regarding                     ARCH           0.80
                                                                                                        researching prospective issues in connection with
                                                                                                        lawsuit against accountants. [0.8]
IRONCLAD.22        10/11/2017      1   P    1               650             0.50 $            325.00    Review Grainger acknowledgement. [0.5]                              ARCH           0.50
IRONCLAD.22        10/16/2017      1   P    1               650             1.00 $            650.00    Review Item 8-K examples regarding SEC Investigation                ARCH           1.00
                                                                                                        disclosure [0.5]; telephone call with Skadden attorney's
                                                                                                        regarding same and coordinate with Mr. Wharton the
                                                                                                        preparation of filing [0.5].
IRONCLAD.22        10/18/2017      1   P    1               650             0.40 $            260.00    Attention to disclosure of reports to Equity Committee,             ARCH           0.40
                                                                                                        including discussions with counsel [0.4].
IRONCLAD.22        10/18/2017      1   P    1               650             0.40   $          260.00    Telephone call with Mr. Gruelich [0.4].                             ARCH           0.40
IRONCLAD.22        10/18/2017      1   P    1               650             0.30   $          195.00    Telephone call with Mr. DiGrigorio [0.3].                           ARCH           0.30
IRONCLAD.22        10/24/2017      1   P    1               650             1.00   $          650.00    Attend call with Skadden [1.0].                                     ARCH           1.00
IRONCLAD.22        10/24/2017      1   P    1               650             1.20   $          780.00    Attention to document production for SEC [0.7] and related          ARCH           1.20
                                                                                                        telephone call with Mr. DiGregorio [0.5].
IRONCLAD.22        10/25/2017      1   P    1               650             0.50 $            325.00    Telephone call with Mr. Bender [0.5].                               ARCH           0.50
IRONCLAD.22        10/25/2017      1   P    1               650             0.80 $            520.00    Telephone call with Mr. DiGregorio [0.5] and attention to           ARCH           0.80
                                                                                                        BDO USA issues [0.3].
IRONCLAD.22        10/27/2017      1   P    1               650             0.80   $          520.00    Telephone call call with Mr. Bender [0.8].                          ARCH           0.80
IRONCLAD.22        10/27/2017      1   P    1               650             1.20   $          780.00    Attend Board of Directors call [1.2].                               ARCH           1.20
IRONCLAD.22        10/27/2017      1   P    1               650             0.50   $          325.00    Telephone call with Mr. DiGregorio [0.5].                           ARCH           0.50
IRONCLAD.22        10/29/2017      1   P    1               650             1.40   $          910.00    Review multiple bankruptcy motions [0.8] and discuss same           ARCH                                               1.40
                                                                                                        with Mr. Bender [0.6].
IRONCLAD.22        10/30/2017      1   P    1               650             1.80 $          1,170.00    Attention to issues during BK Auction [0.8]; telephone call         ARCH                                               1.80
                                                                                                        with Mr. Bender [1.0].
IRONCLAD.22        10/31/2017      1   P    1               650             1.00 $            650.00    Attend Board call with BK Counsel [1.0].                            ARCH           1.00
IRONCLAD.22        10/31/2017      1   P    1               650             1.30 $            845.00    Attend call with SEC Investigation counsel regarding                ARCH           1.30
                                                                                                        Subpoena compliance [1.3].
IRONCLAD.22        11/06/2017      1   P    1               650             0.60 $            390.00    Attend Board call.                                                  ARCH           0.60
IRONCLAD.22        11/07/2017      1   P    1               650             0.90 $            585.00    Conference call with BK counsel to review Asset                     ARCH           0.90
                                                                                                        Purchase Agreement issues and closing schedule.
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                   Trans               H Tcode/                   Hours
Client             Date         Tmkr   P Task Code   Rate         to Bill        Amount                                                                        Ref #     Corp/Securities   IP   Litigation   Misc. Bankruptcy
IRONCLAD.22        11/08/2017      1   P    1               650             0.20 $         130.00    Review emails and reply regarding Skadden fee issues.     ARCH                                                0.20
IRONCLAD.22        11/08/2017      1   P    1               650             0.30 $         195.00    Review and attention to hiring letter in Canada and US.   ARCH           0.30
IRONCLAD.22        11/09/2017      1   P    1               650             0.50 $         325.00    Telephone call with Mr. DiGregorio and follow up          ARCH           0.50
                                                                                                     regarding D&O claim.
IRONCLAD.22        11/09/2017      1   P    1               650             0.70 $         455.00    Attention of review of 8K issues and subsequent           ARCH           0.70
                                                                                                     discussions of same.
IRONCLAD.22        11/13/2017      1   P    1               650             1.00 $         650.00    Review closing documents and status issues with Ms.       ARCH           1.00
                                                                                                     Laffey.
IRONCLAD.22        11/13/2017      1   P    1               650             0.30 $         195.00    Telephone call with Mr. Bender regarding resolution of    ARCH           0.30
                                                                                                     closing issues.
IRONCLAD.22        11/14/2017      1   P    1               650             0.40 $         260.00    Review No Action response and reply to questions from     ARCH           0.40
                                                                                                     board.
IRONCLAD.22        11/14/2017      1   P    1               650             0.40 $         260.00    Review 8K.                                                ARCH           0.40
IRONCLAD.22        11/15/2017      1   P    1               650             0.70 $         455.00    Telephone call with QBE regarding coverage claim          ARCH           0.70
                                                                                                     under D&O Policy.
IRONCLAD.22        11/17/2017      1   A    1               650             0.50 $         325.00    Attention to insurance policies and correspondence        ARCH           0.50
                                                                                                     regarding keeping same in force.
IRONCLAD.22        11/20/2017      1   A    1               650             0.50 $         325.00    Review motion to assign claims.                           ARCH           0.50
IRONCLAD.22        11/29/2017      1   A    1               650             0.60 $         390.00    Review correspondence relating to extension of            ARCH           0.60
                                                                                                     D&O proceeds to Cordes and Aisenberg and
                                                                                                     respond.
IRONCLAD.22        12/05/2017      1   A    1               650             0.70 $         455.00    Attend call with BK Counsel and Mr. Gruelich              ARCH                                               0.70
                                                                                                     and Mr. Pliskin to discuss Equity Committee
                                                                                                     issues and proposal.
IRONCLAD.22        12/06/2017      1   A    1               650             0.60 $         390.00    Review correspondence from BK counsel and                 ARCH                                               0.60
                                                                                                     responses.
IRONCLAD.22        12/06/2017      1   A    1               650             0.80 $         520.00    Review Amended Plan of Liquidation.                       ARCH                                               0.80
IRONCLAD.22        12/06/2017      1   A    1               650             0.50 $         325.00    Review complaint against Radians and related              ARCH                                               0.50
                                                                                                     motions responses.
IRONCLAD.22        12/06/2017      1   A    1               650             0.40 $         260.00    Review QBE insurance coverage response                    ARCH           0.40
                                                                                                     letter and handle distribution to appropriate
                                                                                                     parties.
IRONCLAD.22        12/08/2017      1   A    1               650             0.60 $         390.00    Attend call with Equity Committee trustee Pat             ARCH                                               0.60
                                                                                                     O'Brien regarding various transition issues.
IRONCLAD.22        12/09/2017      1   A    1               650             1.90 $        1,235.00   Review Motion and discuss with Mr. Bender.                ARCH                                               1.90
IRONCLAD.22        12/10/2017      1   A    1               650             0.90 $          585.00   Conference call with Mr. Bender and Mr.                   ARCH           0.90
                                                                                                     Wharton to discuss SEC and trading issues and
                                                                                                     further finalize Motion.
IRONCLAD.22        12/12/2017      1   A    1               650             0.90 $         585.00    Attend conference call regarding Plan                     ARCH                                               0.90
                                                                                                     confirmation motion.
IRONCLAD.22        12/12/2017      1   A    1               650             3.20 $        2,080.00   Attend Bankruptcy Court hearing.                          ARCH                                               3.20
IRONCLAD.22        12/13/2017      1   A    1               650             1.00 $          650.00   Review all Bankruptcy orders and send                     ARCH                                               1.00
                                                                                                     revisions to Mr. Bender.
IRONCLAD.22        12/13/2017      1   A    1               650             0.40 $         260.00    Attention to information requests from Mr.                ARCH           0.40
                                                                                                     Pliskin regarding accounting issues.
IRONCLAD.22        12/18/2017      1   A    1               650             0.90 $         585.00    Attend conference call regarding stock and trust          ARCH           0.90
                                                                                                     interest trading, including FINRA and SEC
                                                                                                     issues.
IRONCLAD.22        12/18/2017      1   A    1               650             0.30 $         195.00    Review Denton's Distribution Draft Plan.                  ARCH                                               0.30
IRONCLAD.22        12/20/2017      1   A    1               650             0.70 $         455.00    Review Shareholder Distribution Plan outline.             ARCH                                               0.70
IRONCLAD.22        12/21/2017      1   A    1               650             0.40 $         260.00    Attention to fee resolution issues and settlement         ARCH                                               0.40
                                                                                                     agreement.
IRONCLAD.22        12/22/2017      1   A    1               650             0.20 $         130.00    Review changes to settlement agreement.                   ARCH                                               0.20
IRONCLAD.22        12/27/2017      1   A    1               650             0.50 $         325.00    Review terms and changes to settlement                    ARCH                                               0.50
                                                                                                     agreement for SAM Prepetition claims.
IRONCLAD.22        12/28/2017      1   A    1               650             0.40 $         260.00    Discussion with Mr. Wharton regarding fee                 ARCH           0.40
                                                                                                     estimate and FINRA issues.
IRONCLAD.22        12/29/2017      1   A    1               650             0.30 $         195.00    Review proposed email to FINRA and                        ARCH           0.30
                                                                                                     discussions regarding same.
IRONCLAD.22        01/02/2018      1   A    1               650             1.00 $         650.00    Review changes to Joint Plan of Reorganization            ARCH                                               1.00
                                                                                                     and Joint Plan Confirmation Motion.
IRONCLAD.22        01/11/2018      1   A    1               650             0.60 $         390.00    Review Joint Plan draft and email                         ARCH                                               0.60
                                                                                                     correspondence regarding same.
IRONCLAD.22        01/11/2018      1   A    1               650             0.50 $         325.00    Discuss Option Holders issues with Mr.                    ARCH           0.50
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Client             Date            Tmkr   P Task Code   Rate         to Bill        Amount                                                                               Ref #     Corp/Securities   IP   Litigation   Misc. Bankruptcy
                                                                                                         Wharton and review Option Holders Notice
                                                                                                         correspondence regarding same.
IRONCLAD.22        01/12/2018         1   A    1               650              0.40 $         260.00    Review final version of Plan.                                   ARCH                                               0.40
IRONCLAD.22        01/21/2018         1   A    1               650              1.20 $         780.00    Review Joint Plan Confirmation Motion and                       ARCH                                               1.20
                                                                                                         related Declarations and discuss with Mr.
                                                                                                         Wharton.
IRONCLAD.22        01/21/2018         1   A    1               650              0.20 $         130.00    Review changes from Ms. Moyron.                                 ARCH                                               0.20
IRONCLAD.22        01/22/2018         1   A    1               650              0.30 $         195.00    Review final changes to Joint Plan Confirmation                 ARCH                                               0.30
                                                                                                         Motion and related Declarations.
IRONCLAD.22        01/23/2018         1   A    1               650              0.50 $         325.00    Review and discuss Option Plan cancellation                     ARCH           0.50
                                                                                                         issues with Mr. Wharton.
IRONCLAD.22        01/24/2018         1   A    1               650              0.60 $         390.00    Review 8K and discuss with Mr. Wharton.                         ARCH           0.60
IRONCLAD.22        01/25/2018         1   A    1               650              0.50 $         325.00    Conference with Mr. Wharton regarding                           ARCH           0.50
                                                                                                         additional 8K issues raised by working group.
IRONCLAD.22        01/26/2018         1   A    1               650              0.20 $         130.00    Conference with Mr. Wharton regarding Option                    ARCH           0.20
                                                                                                         Terminations.
IRONCLAD.22        02/07/2018         1   P    1               650              0.50 $         325.00    Review email from Mr. Bender and revised Joint                  ARCH                                               0.50
                                                                                                         Plan of Reorganization.
IRONCLAD.22        02/14/2018         1   P    1               650              0.50 $         325.00    Review multiple correspondence from Mr.                         ARCH                                               0.50
                                                                                                         Bender regarding confirmation.
IRONCLAD.22        04/02/2018         1   P    1               650              3.00 $        1,950.00   Estimate for attending April 24, 2018 fee hearing.                                                                 3.00

Total for Timekeeper 1                                  Billable               69.40 $       45,110.00   Scott Alderton                                                                43.20                                26.20
                                                                                                                                                                                   $   28,080.00                       $     17,030.00

Timekeeper 2 John McIlvery
IRONCLAD.22       09/20/2017          2   A    1               650              0.40 $         260.00    Review and respond to e-mails regarding disclosure of           ARCH           0.40
                                                                                                         internal investigation and relief from SEC filings. [0.4]

Total for Timekeeper 2                                  Billable                0.40 $         260.00    John McIlvery                                                                  0.40
                                                                                                                                                                                   $       260.00

Timekeeper 5 James A. Sedivy
IRONCLAD.22           10/20/2017      5   A    1               495              0.20 $          99.00    Review noticew to client regarding TM issues regarding          ARCH           0.20
                                                                                                         VISUAL ENGINEERING and WORKBOOTS FOR
                                                                                                         YOUR HANDS. [0.2]

Total for Timekeeper 5                                  Billable                0.20 $          99.00    James A. Sedivy                                                                0.20
                                                                                                                                                                                   $        99.00

Timekeeper 16 Louis Wharton
IRONCLAD.22        09/08/2017        16   A    1               600              3.20 $        1,920.00   Review and provide comments to various bankruptcy               ARCH           1.50                                1.70
                                                                                                         filings [1.7], press release [0.5] and Form 8-K [1.0].
IRONCLAD.22        09/11/2017        16   A    1               600              2.90 $        1,740.00   Draft letter to Securities and Exchange Commission              ARCH           2.90
                                                                                                         requesting filing relief. [2.5] Review and respond to
                                                                                                         correspondence regarding option issuances. [0.4]
IRONCLAD.22        09/12/2017        16   A    1               600              0.90 $         540.00    Review and respond to correspondence regarding                  ARCH           0.40                                0.50
                                                                                                         bankruptcy filings. [0.5] Telephone conference with
                                                                                                         Skadden regarding Securities and Exchange
                                                                                                         Commission filings. [0.4]
IRONCLAD.22        09/13/2017        16   A    1               600              0.90 $         540.00    Review and respond to correspondence regard public              ARCH           0.90
                                                                                                         reporting requirements during bankruptcy. [0.9]
IRONCLAD.22        09/14/2017        16   A    1               600              1.60 $         960.00    Review and respond to correspondence regarding                  ARCH           1.60
                                                                                                         stockholder contact information. [0.4] Correspond with
                                                                                                         Broadridge regarding distribution of materials to street
                                                                                                         name holders. [0.5] Review and analyze letter from BDO. [0.7]
IRONCLAD.22        09/17/2017        16   A    1               600              1.00 $         600.00    Review and respond to correspondence regarding                  ARCH           0.80                                0.20
                                                                                                         Bankruptcy filings. [0.2] Research regarding reporting
                                                                                                         obligations under Section 10A of the Exchange Act. [0.8]
IRONCLAD.22        09/18/2017        16   A    1               600              7.40 $        4,440.00   Correspond with Mr. Pliskin regarding Board Consents. [0.2]     ARCH           7.40
                                                                                                         Review and revise same. [0.8] Continue research regarding
                                                                                                         SEC reporting obligations. [3.9] Telephone conference with
                                                                                                         Messrs. Alderton and DiGregorio regarding same. [0.5]
                                                                                                         Correspond with Ms. Moghaddam regarding same. [0.3]
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                                                                                                     Finalize Board Minutes. [1.0] Correspond with Board of
                                                                                                     Directors regarding same. [0.2] Review and revise
                                                                                                     Employment Application. [0.5]
IRONCLAD.22        09/20/2017     16   A    1               600             6.50 $       3,900.00    Research regarding SEC filing obligations under               ARCH           6.50
                                                                                                     Exchange Act Sections 12(g), 13(a) and 15(d). [1.5]
                                                                                                     Research regarding audit requirements under
                                                                                                     Exchange Act Section 10A. [3.5] Telephone conference with
                                                                                                     working group regarding audit matters. [1.5]
IRONCLAD.22        09/21/2017     16   A    1               600             0.20 $         120.00    Correspond with Broadridge regarding NOBO List. [0.2]         ARCH           0.20
IRONCLAD.22        09/23/2017     16   A    1               600             3.50 $       2,100.00    Research reporting requirements based on BDO LLC              ARCH           3.50
                                                                                                     10A report and resignation letter. [2.0] Correspond with
                                                                                                     counsel regarding same. [0.5] Telephone conference with
                                                                                                     members of the Board and Skadden Arps regarding
                                                                                                     same. [1.0]
IRONCLAD.22        09/25/2017     16   A    1               600             0.30 $         180.00    Review 10A response letter. [0.3]                             ARCH           0.30
IRONCLAD.22        09/26/2017     16   A    1               600             3.20 $       1,920.00    Review and respond to correspondence regarding                ARCH           2.50                                0.70
                                                                                                     various bankruptcy matters. [0.7] Draft form 8-K regarding
                                                                                                     BDO resignation. [2.5]
IRONCLAD.22        09/27/2017     16   A    1               600             5.10 $       3,060.00    Continue review and revision of Form 8-K. [1.5] Correspond    ARCH           5.10
                                                                                                     with working group regarding same. [0.2] Draft Board
                                                                                                     Consents regarding new bank accounts. [0.5] Finalize and
                                                                                                     circulate Board Consents and Board Minutes regarding
                                                                                                     recent corporate actions. [1.5] Review and revise Employee
                                                                                                     Proprietary Information and Inventions Agreement. [1.2]
                                                                                                     Correspond with Mr. Pliskin regarding same. [0.2]
IRONCLAD.22        09/29/2017     16   A    1               600             0.40 $         240.00    Review and revise Non-Disclosure Agreement for                ARCH           0.40
                                                                                                     Marquee Brands. [0.4]
IRONCLAD.22        10/03/2017     16   P    1               600             0.20 $         120.00    Compile executed Board Consents. Correspond with              ARCH           0.20
                                                                                                     Mr. Pliskin regarding same. [0.2]
IRONCLAD.22        10/04/2017     16   P    1               600             2.50 $       1,500.00    Attend Board Meeting and draft minutes. [2.2] Review and      ARCH           2.50
                                                                                                     revise Marquee Non-Disclosure Agreement. [0.3]
IRONCLAD.22        10/05/2017     16   P    1               600             3.60 $       2,160.00    Review and respond to correspondence regarding                ARCH           1.00                                2.60
                                                                                                     bankruptcy filings related to sale transaction. [2.6] Draft
                                                                                                     Board Minutes. [1.0]
IRONCLAD.22        10/06/2017     16   P    1               600             2.10 $       1,260.00    Review Sale Motion, Sale Order and related                    ARCH           0.80                                1.30
                                                                                                     documents. [1.3] Coordinate execution of Non-Disclosure
                                                                                                     Agreements in connection with sale transaction. [0.5]
                                                                                                     Coordinate compilation and execution of outstanding
                                                                                                     corporate documents. [0.3]
IRONCLAD.22        10/11/2017     16   P    1               600             1.80 $       1,080.00    Review records regarding BDO Engagement Letter and            ARCH           1.00                                0.80
                                                                                                     corporate governance policies. [0.8] Correspond with
                                                                                                     working group regarding same. [0.2] Review and revise
                                                                                                     Stipulation Providing for Assumption and Assignment of
                                                                                                     Executory Contract. [0.5] Telephone conference with Mr.
                                                                                                     Pliskin regarding same. [0.3]
IRONCLAD.22        10/12/2017     16   P    1               600             3.60 $       2,160.00    Review Grainger Proposal and Grainger agreements              ARCH           3.60
                                                                                                     and prepare comments to Grainger proposal. [3.6]
IRONCLAD.22        10/13/2017     16   P    1               600             1.40 $         840.00    Continue preparation of comments to Grainger                  ARCH           1.40
                                                                                                     proposal. [1.2] Correspond with Mr. Greulich regarding
                                                                                                     same. [0.2]
IRONCLAD.22        10/15/2017     16   P    1               600             0.60 $         360.00    Draft amendment to Form 8-K regarding BDO letter. [0.6]       ARCH           0.60
IRONCLAD.22        10/18/2017     16   P    1               600             0.50 $         300.00    Correspond with Mr. Meshefejian regarding director            ARCH           0.50
                                                                                                     policies. [0.5]
IRONCLAD.22        10/20/2017     16   P    1               600             0.70 $         420.00    Correspond with Mr. Pliskin regarding employment              ARCH           0.70
                                                                                                     agreements. [0.3] Research regarding Form 8-K
                                                                                                     requirements in connection with Status Report. [0.4]
IRONCLAD.22        10/23/2017     16   P    1               600             0.50 $         300.00    Review correspondence regarding Grainger claim and            ARCH           0.50
                                                                                                     Securities and Exchange Commission inquiry. [0.5]
IRONCLAD.22        10/24/2017     16   P    1               600             2.10 $       1,260.00    Review and prepare initial responses to memorandum            ARCH           2.10
                                                                                                     regarding Securities and Exchange Commission
                                                                                                     inquiry. [1.1] Attend conference call regarding same. [1.0]
IRONCLAD.22        10/26/2017     16   P    1               600             0.20 $         120.00    Correspond with Mr. Pliskin regarding corporate               ARCH           0.20
                                                                                                     documents. [0.2]
IRONCLAD.22        10/27/2017     16   P    1               600             2.70 $       1,620.00    Review and respond to correspondence regarding                ARCH           2.70
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                                                                                                     diligence requests. [2.2] Review memorandum regarding
                                                                                                     potential claims against third parties. [0.5]
IRONCLAD.22        10/30/2017     16   P    1               600             4.90 $       2,940.00    Review materials regarding auction process. [0.7]                ARCH           4.20                                0.70
                                                                                                     Correspond with Mr. Pliskin regarding Securities and
                                                                                                     Exchange Commission filings. [0.2] Review corporate
                                                                                                     records for indemnification agreements and
                                                                                                     Non-Disclosure Agreements. [1.0] Correspond with Mr.
                                                                                                     Emslie regarding UK entity. [0.6] Review revisions to Asset
                                                                                                     Purchase Agreement. [0.8] Draft Form 8-K regarding same. [1.3]
IRONCLAD.22        11/01/2017     16   P    1               600             1.40 $         840.00    Review and revise Form 8-K in response to                        ARCH           1.00                                0.40
                                                                                                     correspondence regarding same. [1.0] Review revisions
                                                                                                     to Sale Order. [0.4]
IRONCLAD.22        11/03/2017     16   P    1               600             0.80 $         480.00    Review correspondence regarding BBI Asset Purchase               ARCH           0.80
                                                                                                     Agreement and Sale Order. [0.8]
IRONCLAD.22        11/06/2017     16   P    1               600             1.00 $         600.00    Telephone conference with Board and Skadden                      ARCH           1.00
                                                                                                     regarding Section 10A matters and representation. [1.0]
IRONCLAD.22        11/07/2017     16   P    1               600             2.90 $       1,740.00    Continue drafting Form 8-K. [1.2] Correspond with                ARCH           2.90
                                                                                                     working group regarding same. [0.2] Telephone
                                                                                                     conference with Messrs. Bender and Alderton and Ms.
                                                                                                     Kim regarding closing items for asset sale transaction.
                                                                                                     [0.5] Revise Form 8-K and coordinate EDGAR
                                                                                                     processing. [1.0]
IRONCLAD.22        11/08/2017     16   P    1               600             2.10 $       1,260.00    Review and revise termination letters and releases for           ARCH           2.10
                                                                                                     Texas and California employees. [1.6] Review and revise
                                                                                                     Trademark Assignment, Patent Assignment, Copyright
                                                                                                     Assignment and Bill of Sale. [0.5]
IRONCLAD.22        11/09/2017     16   P    1               600             0.70 $         420.00    Review corporate statutes regarding impact of                    ARCH           0.70
                                                                                                     bankruptcy proceeding. [0.2]. Telephone conferences
                                                                                                     with and correspondence to FCC, LLC and Wells Fargo
                                                                                                     Century, Inc. regarding lien releases. [0.5]
IRONCLAD.22        11/10/2017     16   P    1               600             5.60 $       3,360.00    Telephone conference with FINRA regarding notice of              ARCH           5.40                                0.20
                                                                                                     action for name change and bankruptcy. Research
                                                                                                     regarding same. [0.4]. Review correspondence
                                                                                                     regarding emergency hearing to effectuate name
                                                                                                     change. [0.2] Telephone conference with Mr. Bloomer
                                                                                                     regarding option matters. [0.2] Telephone calls to FCC,
                                                                                                     LLC and Wells Fargo Century, Inc. regarding lien
                                                                                                     releases. [0.3] Review and revise name change
                                                                                                     amendments. [0.2] Correspond with Mr. Anglin from
                                                                                                     Wells Fargo regarding lien release. [0.3] Review and
                                                                                                     compile information responsive to FINRA Issuer
                                                                                                     Company Related Action Notification. [2.7] Revise letter
                                                                                                     to Securities and Exchange Commission seeking limited
                                                                                                     filing relief. [1.3]
IRONCLAD.22        11/13/2017     16   P    1               600             5.20 $       3,120.00    Telephone conferences with and correspondence to                 ARCH           4.60                                0.60
                                                                                                     OTC Markets Group, the Financial Industry Regulatory
                                                                                                     Authority and the CUSIP Global Services regarding
                                                                                                     name change. [1.5] Review and provide comments to
                                                                                                     emergency name change motion. [0.6] Review Asset
                                                                                                     Purchase Agreement and Non-Disclosure Agreements in
                                                                                                     connection with assignment of same and other closing
                                                                                                     items. [1.5] Telephone conference with working group
                                                                                                     regarding closing asset sale transaction. [1.0] Review
                                                                                                     and provide comments to First Amendment to Asset
                                                                                                     Purchase Agreement. [0.4] Review and respond to
                                                                                                     correspondence regarding option exercises. [0.2]
IRONCLAD.22        11/15/2017     16   P    1               600             4.20 $       2,520.00    Attend hearing regarding emergency motion on name                ARCH           0.80                                3.40
                                                                                                     change and other calendared matters. [3.4] Correspond
                                                                                                     with management and Board of Directors regarding
                                                                                                     revisions to Form 8-K; revise same. [0.3] Correspond
                                                                                                     with working group regarding Second Amendment to
                                                                                                     Asset Purchase Agreement; review and provide
                                                                                                     comments to same. [0.5]
IRONCLAD.22        11/16/2017     16   P    1               600             1.40 $         840.00    Correspond with FINRA and CUSIP Global Services                  ARCH           1.40
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                                                                                                     regarding name change amendments. [0.5] Review and
                                                                                                     respond to correspondence related to effectuating
                                                                                                     Nevada filing. [0.5] Review and revise Form 8-K
                                                                                                     regarding asset sale transaction. [0.4]
IRONCLAD.22        11/17/2017     16   P    1               600             1.40 $         840.00    Correspond with FINRA and working group regarding            ARCH           1.40
                                                                                                     effectiveness of FINRA name change. [0.5] Finalize and
                                                                                                     file Form 8-K. [0.4] Review and respond to
                                                                                                     correspondence regarding Nevada amendment filing.
                                                                                                     [0.2] Draft instruction letter to transfer agent regarding
                                                                                                     option exercises. [0.3]
IRONCLAD.22        11/20/2017     16   A    1               600             3.20 $       1,920.00    Correspond with Pacific Stock Transfer Company and           ARCH           0.20                                  3.00
                                                                                                     working group regarding record holder lists. [0.2]
                                                                                                     Review and revise First Interim Application and gather
                                                                                                     supporting documents regarding same. [3.0]
IRONCLAD.22        11/21/2017     16   A    1               600             0.50 $         300.00    Continue review and revision of First Interim                ARCH                                                 0.50
                                                                                                     Application. [0.5]
IRONCLAD.22        11/28/2017     16   A    1               600             0.60 $         360.00    Correspond with Pacific Stock Transfer                       ARCH           0.60
                                                                                                     Company regarding FINRA documents and
                                                                                                     correspondence. [0.4] Draft Stock Issuance
                                                                                                     Letter in connection with option exercise. [0.2]
IRONCLAD.22        12/04/2017     16   A    1               600             0.50 $         300.00    Review memorandum regarding reorganization                   ARCH                                                 0.50
                                                                                                     plan and related correspondence. [0.5]
IRONCLAD.22        12/05/2017     16   A    1               600             3.80 $       2,280.00    Review Joint Plan of Reorganization and Trust                ARCH                                                 3.80
                                                                                                     Agreement. [3.2] Telephone conference with
                                                                                                     working group regarding creditor claims. [0.6]
IRONCLAD.22        12/06/2017     16   A    1               600             1.40 $         840.00    Compile and review correspondence and                        ARCH                                                 1.40
                                                                                                     invoices regarding pre-petition claim. [1.0]
                                                                                                     Review revisions to Joint Plan of
                                                                                                     Reorganization. [0.4]
IRONCLAD.22        12/07/2017     16   A    1               600             1.10 $         660.00    Compile materials in support of pre-petition                 ARCH                                                 1.10
                                                                                                     claim. [1.1]
IRONCLAD.22        12/08/2017     16   A    1               600             1.50 $         900.00    Review Stock Incentive Plan and Stock Option                 ARCH           1.50
                                                                                                     Agreement regarding treatment of options in
                                                                                                     connection with sale of assets. [0.7] Preliminary
                                                                                                     research regarding trading halt. [0.3] Telephone
                                                                                                     conference with Messrs. O'Brien and Alderton
                                                                                                     and Ms. Moyron regarding same. [0.5]
IRONCLAD.22        12/09/2017     16   A    1               600             1.00 $         600.00    Telephone conference with Messrs. Bender and                 ARCH           0.80                                  0.20
                                                                                                     Alderton regarding liquidating distribution. [0.2]
                                                                                                     Research and draft language regarding
                                                                                                     proposed trading halt. [0.8]
IRONCLAD.22        12/10/2017     16   A    1               600             0.60 $         360.00    Telephone conference with Messrs. Bender and                 ARCH                                                 0.60
                                                                                                     Alderton regarding revised language in Joint
                                                                                                     Plan of Reorganization. [0.2] Review and revise
                                                                                                     same. [0.4]
IRONCLAD.22        12/11/2017     16   A    1               600             1.50 $         900.00    Correspond with Securities and Exchange                      ARCH           0.90                                  0.60
                                                                                                     Commission and the Financial Industry
                                                                                                     Regulatory Authority regarding trading halt. [0.4]
                                                                                                     Draft Form 8-K regarding Monthly Operating
                                                                                                     Reports. [0.5] Review and revise language in
                                                                                                     Joint Plan of Reorganization regarding trading
                                                                                                     halt. [0.4] Telephone conferences with Mr.
                                                                                                     Bender regarding same. [0.2]
IRONCLAD.22        12/12/2017     16   A    1               600             0.60 $         360.00    Telephone conference with counsel to debtors                 ARCH                                                 0.60
                                                                                                     and Official Committee of Equity Holders
                                                                                                     regarding revisions to Joint Plan of
                                                                                                     Reorganization. [0.6]
IRONCLAD.22        12/13/2017     16   A    1               600             0.40 $         240.00    Review Order Granting Motion to Pay                          ARCH                        0.20                     0.20
                                                                                                     Undisputed Claims and revisions thereto. [0.2]
                                                                                                     Review Asset Purchase Agreement regarding
                                                                                                     post-closing obligations for trademark transfers;
                                                                                                     telephone conference with Ms. Solomon
                                                                                                     regarding same. [0.2]
IRONCLAD.22        12/18/2017     16   A    1               600             2.10 $       1,260.00    Review presentation regarding liquidation plan.              ARCH                                                 2.10
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                                                                                                     [0.3] Research regarding same. [0.9]
                                                                                                     Telephone conference regarding same. [0.9]
IRONCLAD.22        12/20/2017     16   A    1               600             0.60 $         360.00    Review and provide comments to Shareholder          ARCH                                               0.60
                                                                                                     Distribution Plan. [0.6]
IRONCLAD.22        12/22/2017     16   A    1               600             0.50 $         300.00    Review and respond to correspondence                ARCH           0.30                                0.20
                                                                                                     regarding record date for distributing proceeds.
                                                                                                     [0.3] Review Joint Stipulation Allowing Stubbs
                                                                                                     Alderton Claim. [0.2]
IRONCLAD.22        12/27/2017     16   A    1               600             0.50 $         300.00    Correspond with working group, and telephone        ARCH           0.50
                                                                                                     conference with FINRA, regarding trading halt.
                                                                                                     [0.5]
IRONCLAD.22        12/28/2017     16   A    1               600             1.50 $         900.00    Draft correspondence to FINRA regarding             ARCH           1.50
                                                                                                     trading halt. [1.5]
IRONCLAD.22        12/29/2017     16   A    1               600             0.60 $         360.00    Correspond with working group regarding list of     ARCH           0.60
                                                                                                     record holders as of December 29, 2017. [0.1]
                                                                                                     Correspond with working group and with the
                                                                                                     Financial Industry Regulatory Authority
                                                                                                     regarding a trading halt in ICPW Liquidation
                                                                                                     Corporation's common stock. [0.5]
IRONCLAD.22        01/02/2018     16   A    1               600             3.60 $       2,160.00    Review and respond to correspondence from           ARCH           1.50                                2.10
                                                                                                     FINRA; correspond with working group
                                                                                                     regarding same. [0.5] Telephone conference
                                                                                                     with FINRA regarding trading halt request. [0.8]
                                                                                                     Review correspondence regarding tax analysis
                                                                                                     for asset sale transaction. [0.2] Review and
                                                                                                     provide comments to Joint Plan of
                                                                                                     Reorganization and Joint Plan Confirmation
                                                                                                     Motion. [2.1]
IRONCLAD.22        01/03/2018     16   A    1               600             1.00 $         600.00    Review revisions to Joint Plan of                   ARCH                                               1.00
                                                                                                     Reorganization, Joint Plan Confirmation Motion
                                                                                                     and Trust Agreement. [1.0]
IRONCLAD.22        01/04/2018     16   A    1               600             0.40 $         240.00    Review Plan Summary. [0.4]                          ARCH                                               0.40
IRONCLAD.22        01/08/2018     16   A    1               600             0.80 $         480.00    Review and respond to correspondence from           ARCH           0.80
                                                                                                     Mr. Jaeger regarding option exercises; research
                                                                                                     regarding same. [0.8]
IRONCLAD.22        01/09/2018     16   A    1               600             0.70 $         420.00    Review revisions to Joint Plan of Liquidation in    ARCH                                               0.70
                                                                                                     response to SEC comment letter, Notice of
                                                                                                     Hearing on Plan Confirmation and Order
                                                                                                     Outcome of January 5, 2018 Hearing. [0.6]
                                                                                                     Correspond with Ms. Moyron regarding
                                                                                                     treatment of outstanding options. [0.1]
IRONCLAD.22        01/10/2018     16   A    1               600             0.80 $         480.00    Attend conference call regarding treatment of       ARCH           0.60                                0.20
                                                                                                     outstanding options. [0.5] Correspond with
                                                                                                     working group regarding restricted legends on
                                                                                                     stock certificates. [0.1] Telephone conference
                                                                                                     with and correspondence to Ms. Moyron
                                                                                                     regarding distribution of revised Joint Plan of
                                                                                                     Liquidation to FINRA. [0.2]
IRONCLAD.22        01/11/2018     16   A    1               600             5.10 $       3,060.00    Correspond with Ms. Moyron regarding 2006           ARCH           4.70                                0.40
                                                                                                     Stock Incentive Plan; telephone conferences
                                                                                                     with Ms. Moyron and Mr. Montgomery regarding
                                                                                                     same. [0.7] Review revised Joint Plan of
                                                                                                     Liquidation and Trust Agreement. [0.4]
                                                                                                     Telephone conference with Mr. Pliskin regarding
                                                                                                     option ledger. [0.1] Draft option cancellation
                                                                                                     notice; correspond with working group regarding
                                                                                                     same, revise same. [3.6] Draft Board Consent
                                                                                                     approving option cancellation. [0.3]
IRONCLAD.22        01/12/2018     16   A    1               600             0.60 $         360.00    Review revisions to Joint Plan of Liquidation and   ARCH           0.30                                0.30
                                                                                                     revise same. [0.3] Correspond with Board of
                                                                                                     Directors regarding option cancellation notice.
                                                                                                     [0.3]
IRONCLAD.22        01/16/2018     16   A    1               600             0.30 $         180.00    Review and respond to correspondence                ARCH           0.30
                                                                                                     regarding option cancellation notice. [0.3]
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IRONCLAD.22        01/17/2018     16   A    1               600             0.20 $         120.00    Review and respond to correspondence from           ARCH           0.20
                                                                                                     Mr. Montgomery regarding option schedule.
                                                                                                     [0.2]
IRONCLAD.22        01/18/2018     16   A    1               600             0.80 $         480.00    Telephone conference with FINRA regarding           ARCH           0.80
                                                                                                     trading halt. [0.4] Correspond with working
                                                                                                     group regarding same. [0.4]
IRONCLAD.22        01/22/2018     16   A    1               600             2.20 $        1,320.00   Review and provide comments to Notice of            ARCH                                               2.20
                                                                                                     Hearing on Motion and Motion for Entry of Order
                                                                                                     Approving Appointment of Trustee. [0.3]
                                                                                                     Review Joint Plan Confirmation Motion and
                                                                                                     revisions thereto. [1.7] Review Mr. Jarus'
                                                                                                     declaration and Mr. Greulich's declaration. [0.2]
IRONCLAD.22        01/24/2018     16   A    1               600             2.40 $        1,440.00   Review and revise Option Cancellation Notice.       ARCH           2.40
                                                                                                     [0.5] Draft Form 8-K regarding liquidation
                                                                                                     process. [0.5] Draft Form 8-K and press release
                                                                                                     regarding Joint Plan of Liquidation. [1.4]
IRONCLAD.22        01/25/2018     16   A    1               600             1.20 $         720.00    Review and revise Form 8-K and press release        ARCH           1.20
                                                                                                     regarding Joint Plan of Liquidation. [1.0]
                                                                                                     Correspond with the Financial Industry
                                                                                                     Regulatory Authority regarding same. [0.1]
                                                                                                     Correspond with working group regarding
                                                                                                     determining record date. [0.1]
IRONCLAD.22        01/26/2018     16   A    1               600             3.60 $        2,160.00   Review and revise Form 8-K and press release        ARCH           3.60
                                                                                                     regarding Joint Plan of Liquidation. [0.5]
                                                                                                     Research regarding DTCC Escrow CUSIP. [0.4]
                                                                                                     Telephone conference with FINRA and DTCC
                                                                                                     regarding position settlement and other issues
                                                                                                     related to the Joint Plan of Liquidation. [0.7]
                                                                                                     Finalize and coordinate mailing of Option
                                                                                                     Cancellation Notice. [1.3] Prepare and submit
                                                                                                     FINRA Notice of Action. [0.7]
IRONCLAD.22        02/01/2018     16   P    1               600             1.40 $         840.00    Telephone conference with FINRA regarding           ARCH           1.40
                                                                                                     revisions to Form 8-K. [0.3] Review and revise
                                                                                                     Form 8-K and press release regarding same.
                                                                                                     [0.9] Correspond with internal working group
                                                                                                     regarding same. [0.2]
IRONCLAD.22        02/05/2018     16   P    1               600             0.90 $         540.00    Review correspondence from the DTCC                 ARCH           0.60                                0.30
                                                                                                     regarding stock cancellation process. [0.1]
                                                                                                     Telephone conference with working group
                                                                                                     regarding stock cancellation process. [0.5]
                                                                                                     Review objections to Joint Plan of Liquidation.
                                                                                                     [0.3]
IRONCLAD.22        02/07/2018     16   P    1               600             0.50 $         300.00    Review revisions to Joint Plan of Liquidation.      ARCH                                               0.50
                                                                                                     [0.4] Review First Supplement to Joint Plan
                                                                                                     Confirmation Motion. [0.1]
IRONCLAD.22        02/09/2018     16   P    1               600             0.90 $         540.00    Correspond with working group regarding             ARCH           0.90
                                                                                                     Depository Trust Company information request.
                                                                                                     [0.3] Telephone conference with the Financial
                                                                                                     Industry Regulatory Authority and the Depository
                                                                                                     Trust Company regarding same. [0.4]
                                                                                                     Correspond with the Depository Trust Company
                                                                                                     regarding information request. [0.2]
IRONCLAD.22        02/12/2018     16   P    1               600             1.10 $         660.00    Correspond with working group regarding Form        ARCH           0.40                                0.70
                                                                                                     8-K and Plan Confirmation Order. [0.4] Review
                                                                                                     Plan Confirmation Order and revisions thereto.
                                                                                                     [0.4] Review and provide comments to revised
                                                                                                     Plan Confirmation Order. [0.3]
IRONCLAD.22        02/13/2018     16   P    1               600             0.70 $         420.00    Review multiple revisions to Plan Confirmation      ARCH                                               0.70
                                                                                                     Order. [0.7]
IRONCLAD.22        02/14/2018     16   P    1               600             3.40 $        2,040.00   Correspond with FINRA and the Depository            ARCH           3.30                                0.10
                                                                                                     Trust Company regarding Plan Confirmation
                                                                                                     Order. [0.2] Draft Form 8-K regarding Plan
                                                                                                     Confirmation Order. [3.1] Review order
                                                                                                     approving Trustee and Board Members. [0.1]
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IRONCLAD.22        02/15/2018      16   P    1               600               0.50 $          300.00    Review and revise Form 8-K and coordinate                        ARCH           0.50
                                                                                                         filing of same. [0.5]
IRONCLAD.22        02/26/2018      16   A                    600               0.10 $           60.00    Correspond with DTC regarding effective date of Joint            ARCH           0.10
                                                                                                         Plan of Liquidation. [0.1]
IRONCLAD.22        02/26/2018      16   A                    600               0.30 $          180.00    Review Trust Agreement and Agreement for Trustee                 ARCH           0.30
                                                                                                         Services. [0.3]
IRONCLAD.22        02/26/2018      16   A                    600               1.20 $          720.00    Research regarding deregistration process for company            ARCH           1.20
                                                                                                         in bankruptcy. [1.2]
IRONCLAD.22        02/26/2018      16   A                    600               0.30 $          180.00    Correspond with officers and directors regarding                 ARCH           0.30
                                                                                                         resignation letters. [0.3]
IRONCLAD.22        02/26/2018      16   A                    600               0.20 $          120.00    Telephone conferences with Ms. Chae regarding                    ARCH           0.20
                                                                                                         deregistration filings. [0.2]
IRONCLAD.22        02/27/2018      16   A                    600               2.20 $         1,320.00   Telephone conference with Ms. Chae regarding SEC                 ARCH           2.20
                                                                                                         filings. [0.3] Draft Post-Effective Amendments to
                                                                                                         Registration Statements and Form 15; correspond with
                                                                                                         filing agent regarding same. [0.1] Review and provide
                                                                                                         comments to dissolution filings. [0.4] Draft
                                                                                                         Post-Effective Amendments to Registration Statements
                                                                                                         and Form 15; correspond with EDGAR vendor
                                                                                                         regarding same. [1.4]
IRONCLAD.22        02/28/2018      16   A                    600               3.70 $         2,220.00   Telephone conference regarding Plan effective date               ARCH           3.70
                                                                                                         and dissolution matters. [0.4] Correspond with Ms.
                                                                                                         Moyron regarding dissolution filings and filings with the
                                                                                                         Securities and Exchange Commission. [0.3] Research
                                                                                                         regarding reporting obligations of liquidating trust. [0.7]
                                                                                                         Coordinate filing of dissolution documents and
                                                                                                         Securities and Exchange Commission filings;
                                                                                                         conferences with the Financial Industry Regulatory
                                                                                                         Authority and the Depository Trust Company regarding
                                                                                                         same. [2.3]
IRONCLAD.22        03/28/2018      16   P    1               600               0.80 $           480.00   Prepare final fee application documents. [0.8]                       318                                                      0.80
IRONCLAD.22        03/29/2018      16   P    1               600               3.40 $         2,040.00   Continue preparation of final fee application documents. [3.4]       319                                                      3.40
IRONCLAD.22        04/02/2018      16   P    1               600               3.00 $         1,800.00   Continue preparation of final fee application documents. [3.0]       320                                                      3.00

Total for Timekeeper 16                               Billable               162.00 $        97,200.00   Louis Wharton                                                                  116.50            0.20                         45.30
                                                                                                                                                                                    $    69,900.00    $    120.00                 $     27,180.00

Timekeeper 23 Michael Sherman
IRONCLAD.22       10/11/2017       23   P    1               585               1.00 $          585.00    Telephone call with Mr. Alderton and Mr. Bender                  ARCH                                         0.50            0.50
                                                                                                         regarding Bankruptcy/litigation issues [0.5]; meeting with Mr.
                                                                                                         Alderton and Mr. Elan regarding statute of limitations
                                                                                                         issues [0.5].
IRONCLAD.22        10/17/2017      23   P    1               585               0.30 $          175.50    Preliminary review of memorandum regarding BDO                   ARCH                                         0.30
                                                                                                         claims and statute of limitations issues. [0.3]
IRONCLAD.22        10/24/2017      23   P    1               585               1.00 $          585.00    Review BDO claims. [1.0]                                         ARCH                                         1.00
IRONCLAD.22        10/25/2017      23   P    1               585               0.60 $          351.00    Telephone calls with Mr. Steyer and Mr. Alderton                 ARCH                                         0.60
                                                                                                         regarding claims against BDO Seidman. [0.6]

Total for Timekeeper 23                               Billable                 2.90 $         1,696.50   Michael Sherman                                                                                               2.40            0.50
                                                                                                                                                                                                                    $ 1,404.00    $       292.50

Timekeeper 24 Christine Morigi
IRONCLAD.22        10/03/2017      24   A    1               250               0.30 $           75.00    Telephone call with Think HR regarding labor release             ARCH           0.30
                                                                                                         and Texas methodology regarding employment claims.
IRONCLAD.22        10/03/2017      24   A    1               250               0.50 $          125.00    Review federal exemption laws.                                   ARCH           0.50
IRONCLAD.22        10/03/2017      24   A    1               250               0.30 $           75.00    Telephone call with client.                                      ARCH           0.30
IRONCLAD.22        11/08/2017      24   A    1               250               2.50 $          625.00    Review Canadian termination letter. [.5] Research and            ARCH           2.50
                                                                                                         revise for California and Texas employees. [1.5]
                                                                                                         Conferences with L. Wharton regarding same. [.5]
IRONCLAD.22        11/10/2017      24   A    1               250               1.50 $          375.00    Research regarding Texas vacation maximums,                      ARCH           1.50
                                                                                                         rollovers, policy requirements. [.5] Telephone call to
                                                                                                         Labor Commissioner. [.5] Prepare email to Matt
                                                                                                         regarding policies in place for target employee. [.5]
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Total for Timekeeper 24                              Billable               5.10 $      1,275.00     Christine Morigi                                                             5.10
                                                                                                                                                                             $     1,275.00


IRONCLAD.22        11/08/2017     27   P    1              460              5.20 $       2,392.00    Draft Bill of Sale and Assignment of Rights Agreement.        ARCH           5.20
                                                                                                     [0.8] Draft Trademark Assignment Agreement. [0.8] Draft
                                                                                                     Patent Assignment Agreement. [0.8] Draft Trademark
                                                                                                     Assignment Agreement. [0.8] Draft Sellers Closing
                                                                                                     Certificate. [0.4] Draft certificates of non-foreign status
                                                                                                     for each seller. [0.5]. Draft W-9 certificates. [0.5]
                                                                                                     Research changing the corporate name without
                                                                                                     obtaining board and shareholder approval. [0.6]
IRONCLAD.22        11/09/2017     27   P    1              460              2.60 $       1,196.00    Draft form of Consent to Assignment of Rights under           ARCH           2.60
                                                                                                     Nondisclosure Agreements [1.2] Revise closing
                                                                                                     documents per comments from bankruptcy counsel and
                                                                                                     buyer's counsel [1.4]
IRONCLAD.22        11/10/2017     27   P    1              460              4.50 $       2,070.00    Finalize closing documents in connection with Asset           ARCH           4.50
                                                                                                     Sale. [1.0] Research notification required for FINRA in
                                                                                                     connection with name change and bankruptcy [1.0]
                                                                                                     Prepare notification to FINRA in connection with name
                                                                                                     change. [2.5]
IRONCLAD.22        11/12/2017     27   P    1              460              0.20 $          92.00    Finalize intellectual property assignment schedules. [0.2]    ARCH           0.20
IRONCLAD.22        11/13/2017     27   P    1              460              5.20 $       2,392.00    Telephone conference with working group regarding             ARCH           5.20
                                                                                                     closing asset sale transaction. [1.0] Finalize closing
                                                                                                     documents in connection with Asset Sale. [1.0] Prepare
                                                                                                     signature pages to Asset Purchase Agreement and all
                                                                                                     closing documents. [0.7] Draft First Amendment to Asset
                                                                                                     Purchase Agreement. [1.3] Prepare name change filings
                                                                                                     and coordinate process for secretary of state of
                                                                                                     California and Nevada. [1.2]
IRONCLAD.22        11/14/2017     27   P    1              460              1.60 $         736.00    Assemble fully executed documents in connection with          ARCH           1.60
                                                                                                     closing of Asset Sale. [0.8] Correspondence with buyer's
                                                                                                     counsel and bankruptcy counsel to coordinate closing.
                                                                                                     [0.8]
IRONCLAD.22        11/15/2017     27   P    1              460              0.90 $         414.00    Obtain signatures to name change filings and prepare          ARCH           0.90
                                                                                                     for filing. [0.3] Draft Second Amendment to Asset
                                                                                                     Purchase Agreement. [0.6]
IRONCLAD.22        11/16/2017     27   P    1              460              1.30 $         598.00    Revise name change filings per comments from the              ARCH           1.30
                                                                                                     secretary of state of Nevada and California. [0.7] Finalize
                                                                                                     Second Amendment to Asset Purchase Agreement and
                                                                                                     coordinate execution of same. [0.6]
IRONCLAD.22        11/21/2017     27   A    1              460              0.20 $          92.00    Assemble required documents for FINRA                         ARCH           0.20
                                                                                                     response.

Total for Timekeeper 27                              Billable              21.70 $       9,982.00    Kelly Siobhan Laffey                                                        21.70
                                                                                                                                                                             $    9,982.00


Timekeeper 31 Tami C. Solomon
IRONCLAD.22       09/08/2017      31   A    1              250              4.00 $       1,000.00    Attention to status report for worldwide trademarks;[0.2]     ARCH                        4.00
                                                                                                     request status updates for mark in China [2.5] and
                                                                                                     Indonesia. [1.3]
IRONCLAD.22        09/11/2017     31   A    1              250              2.70 $         675.00    Finalize status report and forward to Mr. Gersh and           ARCH                        2.70
                                                                                                     forward Trademark; [2.5] report to client. [0.2]
IRONCLAD.22        09/12/2017     31   A    1              250              0.20 $          50.00    Attention to Appeal for Refusal to Trade Mark                 ARCH                        0.20
                                                                                                     Application No. 21081271 IVE in Class 25;[0.1] provide
                                                                                                     instructions to counsel not to file supplemental
                                                                                                     arguments. [0.1]
IRONCLAD.22        09/12/2017     31   A    1              250              0.30 $          75.00    Attention to Trade Mark Applications Nos. 19945514            ARCH                        0.30
                                                                                                     IRONCLAD and 19945512 (IRONCLAD & DEVICE)
                                                                                                     both in Class 9; [0.1] Prepare correspondence to client
                                                                                                     regarding the acceptance and publication of both
                                                                                                     marks. [0.2]
IRONCLAD.22        09/12/2017     31   A    1              250              0.30 $          75.00    Attention to Invalidation against the cited mark No.          ARCH                        0.30
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                                                                                                     13915530 in class 25 in the name of Li Mingzhu; [0.1]
                                                                                                     Prepare correspondence to foreign counsel to confirm
                                                                                                     the deadline to file supplemental evidence and
                                                                                                     recommendations. [0.2]
IRONCLAD.22        09/13/2017     31   A    1               250             0.10 $          25.00    Physical market search for use of IRONCLAD in class           ARCH                        0.10
                                                                                                     9 in the name of Antony Chenova in Indonesia; receive
                                                                                                     instructions to file a response to the office action. [0.1]
IRONCLAD.22        09/13/2017     31   A    1               250             0.30 $          75.00    Attention to IVE applications in China; [0.1] prepare         ARCH                        0.30
                                                                                                     correspondence to foreign counsel regarding the
                                                                                                     client's instructions. [0.2]
IRONCLAD.22        09/13/2017     31   A    1               250             0.60 $         150.00    Attention to allowance of trademarks in Canada; [0.1]         ARCH                        0.60
                                                                                                     Prepare correspondence to client regarding same for
                                                                                                     Canadian Trademark Application Nos. 1,743,711,
                                                                                                     1,743,712 and 1,746,025. [0.5]
IRONCLAD.22        09/14/2017     31   A    1               250             0.60 $         150.00    Receive notice of Registration for IRONCLAD in                ARCH                        0.60
                                                                                                     classes 09, 28 [0.1] and KONG in class 09; [0.1]prepare
                                                                                                     correspondence to client regarding same. [0.4]
IRONCLAD.22        09/15/2017     31   A    1               250             0.40 $         100.00    Receive correspondence from counsel in connection             ARCH                        0.40
                                                                                                     with IVE applications in China; [0.2] update records for
                                                                                                     same. [0.2]
IRONCLAD.22        09/15/2017     31   A    1               250             0.30 $          75.00    Attention to filing new trademark applications in Brazil      ARCH                        0.30
                                                                                                     for KONG and IRONCLAD in class 25;[0.1] receive POA
                                                                                                     from client for same. [0.1] Instruct foreign counsel to
                                                                                                     proceed with filings. [0.1]
IRONCLAD.22        09/19/2017     31   A    1               250             1.00 $         250.00    Prepare trademark report and status for the purpose of        ARCH                        1.00
                                                                                                     showing up coming actions and costs estimates. [1.0]
IRONCLAD.22        09/19/2017     31   A    1               250             0.30 $          75.00    Attention to Registrations of IRONCLAD and KONG in            ARCH                        0.30
                                                                                                     India for classes 09 and 28;[0.1] prepare correspondence to
                                                                                                     the client for same.[0.2]
IRONCLAD.22        09/20/2017     31   A    1               250             1.30 $         325.00    Prepare cost quote for persecution of worldwide               ARCH                        1.30
                                                                                                     trademarks for Ironclad up to November 30 2017;[1.1]
                                                                                                     forward to Mr. Wharton.[0.2]
IRONCLAD.22        09/22/2017     31   A    1               250             0.30 $          75.00    Attention to Invalidation of KONG in the name of Li           ARCH                        0.30
                                                                                                     Mingzhu in China; [0.1] receive requested supplemental
                                                                                                     evidence and forward to foreign counsel for review.[0.2]
IRONCLAD.22        09/25/2017     31   A    1               250             0.20 $          50.00    Attention to renewals for COWBOY CUFF and                     ARCH                        0.20
                                                                                                     MAJORED IN SWEAT, MINORED IN DIRT; [0.1] request
                                                                                                     instructions from client.[0.1]
IRONCLAD.22        09/29/2017     31   A    1               250             0.50 $         125.00    Attention to Invalidation against the cited mark No.          ARCH                        0.50
                                                                                                     13915530 in class 25 in the name of Li Mingzhu; [0.3]
                                                                                                     request for further evidence from client for same.[0.2]
IRONCLAD.22        10/02/2017     31   P    1               250             0.30 $          75.00    Attention to Invalidation against the cited mark No.          ARCH                        0.30
                                                                                                     13915530 in class 25 in the name of Li Mingzhu;[0.1]
                                                                                                     request for further evidence from client for same;[0.1]
                                                                                                     provide cost to the client for foreign counsel to file the
                                                                                                     rebuttal.[0.1]
IRONCLAD.22        10/02/2017     31   P    1               250             0.50 $         125.00    Attention to Canadian Mark: IVE & Design 1,746,025            ARCH                        0.50
                                                                                                     Classes 09, 25; [0.2] prepare correspondence to client
                                                                                                     regarding the deadline to file the Declaration of Use.[0.3]
IRONCLAD.22        10/02/2017     31   P    1               250             0.30 $          75.00    Attention Canadian Mark: DIAMOND Design                       ARCH                        0.30
                                                                                                     Application No. 1,743,711;[0.1] prepare correspondence to
                                                                                                     client regarding the deadline to file the Declaration of
                                                                                                     Use.[0.2]
IRONCLAD.22        10/05/2017     31   P    1               250             0.20 $          50.00    Attention to new trademark filings in Brazil for KONG         ARCH                        0.20
                                                                                                     and IRONCLAD; [0.1] report filing particulars to the client
                                                                                                     and docket same.[0.2]
IRONCLAD.22        10/09/2017     31   P    1               250             0.30 $          75.00    Attention to China - Invalidation against the cited mark      ARCH                        0.30
                                                                                                     No. 13915530 KONG in class 25 in the name of Li
                                                                                                     Mingzhu; [0.1]prepare correspondence to client regarding
                                                                                                     further recommendations from counsel.[0.2]
IRONCLAD.22        10/10/2017     31   P    1               250             0.20 $          50.00    Attention to China - Invalidation against the cited mark      ARCH                        0.20
                                                                                                     No. 13915530 KONG in class 25 in the name of Li
                                                                                                     Mingzhu (a Chinese individual); [0.1] prepare
                                                                                                     correspondence to client regarding further
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                                                                                                     recommendations from counsel.[0.2]
IRONCLAD.22        10/19/2017     31   P   95               250             0.00 $            -      Receive and review correspondence from the United          ARCH                        0.00
                                                                                                     States Patent and Trademark Office in connection with
                                                                                                     Statement of Use for US Trademark VISUAL
                                                                                                     ENGINEERING and WORKBOOTS FOR YOUR
                                                                                                     HANDS in classes 25 and 35; [0.1] Prepare correspondence
                                                                                                     to client regarding same and pull specimens of use.[0.2]
IRONCLAD.22        10/23/2017     31   P    1               250             0.50 $         125.00    Attention to Registered Trademark No. 3508921 in           ARCH                        0.50
                                                                                                     Class 25 for IRONCLAD (word) in India;[0.2] docket same
                                                                                                     and forward to client.[0.3]
IRONCLAD.22        10/24/2017     31   P   95               250             0.00 $            -      Receive and review correspondence from the United          ARCH                        0.00
                                                                                                     States Patent and Trademark Office in connection with
                                                                                                     Statement of Use for US Trademark VISUAL
                                                                                                     ENGINEERING and WORKBOOTS FOR YOUR
                                                                                                     HANDS in classes 25 and 35; follow up with client
                                                                                                     regarding same and pull specimens of use.[0.2]
IRONCLAD.22        10/27/2017     31   P   95               250             1.00 $         250.00    Attention to Statement of Use for VISUAL                   ARCH                        1.00
                                                                                                     ENGINEERING in class 25; [0.2] Exchange correspondence
                                                                                                     with client and request further information. Check links
                                                                                                     provided by client and gather specimens of use.[0.8]
IRONCLAD.22        10/27/2017     31   P    1               250             0.40 $         100.00    Attention to China- Non-use cancellation against           ARCH                        0.40
                                                                                                     trademark Registration No. 7966546 "IVE & AI WEI YI
                                                                                                     in Chinese" in class 9; [0.2] receive news from foreign
                                                                                                     counsel of the unfavorable decision and notify client of
                                                                                                     same.[0.2]
IRONCLAD.22        10/27/2017     31   P    1               250             0.40 $         100.00    Attention to Deadline to appeal for Trademark              ARCH                        0.40
                                                                                                     Application No. 22350775 KONG in Class 9; [0.1] prepare
                                                                                                     correspondence to client requesting instructions.[0.3]
IRONCLAD.22        10/27/2017     31   P    1               250             0.30 $          75.00    Attention to Indonesia Notice of Rejection against         ARCH                        0.30
                                                                                                     Trademark Application KONG in class 9 in the name of
                                                                                                     Ironclad Performance Wear Corp; [0.1]review
                                                                                                     correspondence.[0.2]
IRONCLAD.22        10/27/2017     31   P   95               250             0.00 $            -      Attention to filing request for an Extension of Time in    ARCH                        0.00
                                                                                                     which to file a Statement of Use in connection with the
                                                                                                     pending trademark application for VISUAL
                                                                                                     ENGINEERING Cl. 25 Serial number 86737038. [0.5]
IRONCLAD.22        10/31/2017     31   P    1               250             0.20 $          50.00    Follow up with Mr. Jaeger regarding KONG in China;[0.1]    ARCH                        0.20
                                                                                                     requested a conference call to discuss issues.[0.1]
IRONCLAD.22        11/02/2017     31   P    1               250             0.40 $         100.00    Prepare for and engage in teleconference with client in    ARCH                        0.40
                                                                                                     regards to Trademark Appl. No. 22350775 KONG in
                                                                                                     Class 9 in China [0.2]; provide instruction regarding
                                                                                                     appeal and non-use cancellation. [0.2]
IRONCLAD.22        11/02/2017     31   P    1               250             0.50 $         125.00    Attention to filing request for an Extension of Time in    ARCH                        0.50
                                                                                                     which to file a Statement of Use in connection with the
                                                                                                     pending trademark application for WORKBOOTS FOR
                                                                                                     YOUR HANDS Serial number 86298262.
IRONCLAD.22        11/08/2017     31   P    1               250             0.80 $         200.00    Attention to notice of allowance for VISUAL                ARCH                        0.80
                                                                                                     ENGINEERING, IVE, Design 1 and Design 2 in class 09
                                                                                                     and 25 in Brazil [0.2]; prepare correspondence to client
                                                                                                     regarding same [0.3] and request instructions for
                                                                                                     registration fee payment deadline [0.3].
IRONCLAD.22        11/08/2017     31   P    1               250             0.30 $          75.00    Attention to NOTICE OF REJECTION in Brazil for the         ARCH                        0.30
                                                                                                     Glove Design Trade Mark Application N 910163995 and
                                                                                                     Trade Mark Application N 910163995 [0.2]; Prepare
                                                                                                     correspondence to client with deadline to appeal and
                                                                                                     request instructions for same [0.1].
IRONCLAD.22        11/08/2017     31   P    1               250             0.50 $         125.00    Update the Ironclad worldwide trademarks status report.    ARCH                        0.50
IRONCLAD.22        11/09/2017     31   P    1               250             2.80 $         700.00    Attention to Ironclad closing documents; Search and        ARCH                        2.80
                                                                                                     prepare lists of Trademarks [1.5] and Copyrights [1.0];
                                                                                                     Coordinate patent list [0.3].
IRONCLAD.22        11/10/2017     31   P    1               250             3.50 $         875.00    Attention to Ironclad closing documents; Search and        ARCH                        3.50
                                                                                                     prepare lists of Trademarks [2.0] and Copyrights [1.3];
                                                                                                     Coordinate patent list and IP charts for Ironclad [0.2].
IRONCLAD.22        11/13/2017     31   P    1               250             0.90 $         225.00    Attention to TS1 trademark Registration number             ARCH                        0.90
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                   Trans                  H Tcode/                   Hours
Client             Date            Tmkr   P Task Code   Rate         to Bill           Amount                                                                              Ref #     Corp/Securities       IP       Litigation   Misc. Bankruptcy
                                                                                                            4433852 [0.1]; Research correcting the state of
                                                                                                            incorporation [0.8].
IRONCLAD.22        11/13/2017        31   P    1               250              0.80 $            200.00    Prepare list of Foreign Counsel in connection with             ARCH                           0.80
                                                                                                            Trademarks for closing documents.[0.8]
IRONCLAD.22        11/14/2017        31   P    1               250              1.10 $            275.00    Draft and file Section 7 correction form for TS1               ARCH                           1.10
                                                                                                            Registration No. 4433852 to change Florida state
                                                                                                            organized under to California. [1.2]
IRONCLAD.22        11/14/2017        31   P    1               250              0.80 $            200.00    Attention to Ironclad's worldwide Copyrights, Patents and      ARCH                           0.80
                                                                                                            Trademarks [0.1]; coordinate and revise list of IP
                                                                                                            contacts [0.7].
IRONCLAD.22        12/13/2017        31   A    1               250              4.00 $          1,000.00    Prepare correspondence to new counsel with Dockets,            ARCH                           4.00
                                                                                                            List of Trademarks and instructions for upcoming
                                                                                                            deadlines. Prepare correspondence to all foreign
                                                                                                            counsel in each territory introducing new counsel who
                                                                                                            will take over maintenance.

Total for Timekeeper 31                                 Billable               34.40 $          8,600.00    Tami C. Solomon                                                                              34.40
                                                                                                                                                                                                       $ 8,600.00

Timekeeper 38 Stephen A. Carroll
IRONCLAD.22       09/14/2017         38   A   89               250              0.00 $               -      Attention to filing of Matthew Pliskin Form 3 with SEC; [.4]   ARCH           0.00
                                                                                                            update his EDGAR Codes and calls to SEC regarding
                                                                                                            same. [.8]
IRONCLAD.22        10/26/2017        38   P    1               250              0.20 $             50.00    Obtain long form charter from NV Secretary of State. [.2]      ARCH           0.20
IRONCLAD.22        10/31/2017        38   P    1               250              0.40 $            100.00    Attention to entity due diligence. [.2] obtain plain and       ARCH           0.40
                                                                                                            certified copies of Ironclad Performance Wear
                                                                                                            Corporation (CA entity) organizational/charter
                                                                                                            documents. [.2]
IRONCLAD.22        11/07/2017        38   P    1               250              0.10 $             25.00    Attention to certified documents received from the CA          ARCH           0.10
                                                                                                            Secretary of State regarding (CA) Ironclad Performance
                                                                                                            Wear Corporation. [.1]
IRONCLAD.22        11/08/2017        38   P    1               250              0.40 $            100.00    Attention to entity due diligence matters. [.3] Emails         ARCH           0.40
                                                                                                            from/to Kelly Laffey regarding same. [.1]
IRONCLAD.22        11/10/2017        38   P    1               250              0.30 $             75.00    Attention to research regarding name change filings in         ARCH           0.30
                                                                                                            CA and NV. [.2] Emails to/from Telos Legal Corp
                                                                                                            regarding same. [.1]
IRONCLAD.22        11/13/2017        38   P    1               250              0.20 $             50.00    Attention to entity due diligence/confirm entity status of     ARCH           0.20
                                                                                                            Ironclad in CA and NV. [.2]
IRONCLAD.22        11/16/2017        38   P    1               250              1.30 $            325.00    Arrange for the filing of name change amendments with          ARCH           1.30
                                                                                                            each of the NV and CA Secretaries of State. [.5] Multiple
                                                                                                            calls and emails from/to Telos Legal Corp regarding
                                                                                                            same. [.8]
IRONCLAD.22        02/26/2018        38   A                    250              1.90 $            475.00    Research NV Revised Code in preparation for drafting           ARCH           1.90
                                                                                                            dissolution documentation for ICPW Liquidation
                                                                                                            Corporation, a NV corporation (0.50); correspond with
                                                                                                            Telos Legal Corp regarding NV dissolution preparation
                                                                                                            (0.20); research CA Corporations Code in preparation
                                                                                                            for drafting Certificate of Dissolution of ICPW
                                                                                                            Liquidation Corporation, a CA corporation (0.60); draft
                                                                                                            Certificate of Dissolution of ICPW Liquidation
                                                                                                            Corporation, a CA corporation (0.60).
IRONCLAD.22        02/27/2018        38   A                    250              0.90 $            225.00    Attention to preparation of Nevada dissolution                 ARCH           0.90
                                                                                                            document (0.30); calls to/from Telos Legal Corp to
                                                                                                            confirm proper format of NV dissolution document
                                                                                                            (0.40); emails from/to Louis Wharton regarding
                                                                                                            dissolution documents and arranging for execution of
                                                                                                            same (0.20).
IRONCLAD.22        02/28/2018        38   A                    250              0.30 $             75.00    Attention to submission of NV and CA Dissolution               ARCH           0.30
                                                                                                            documents to the respective Secretary of State.

Total for Timekeeper 38                                 Billable                6.00             1500.00    Stephen A. Carroll                                                            6.00
                                                                                                                                                                                     $     1,500.00
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                  Trans                H Tcode/                    Hours
Client            Date          Tmkr   P Task Code   Rate          to Bill         Amount                                                                          Ref #        Corp/Securities       IP         Litigation    Misc. Bankruptcy
Timekeeper 44 Grace H. Kim
IRONCLAD.22       09/18/2017      44   A    1                250               1.70 $         425.00    Draft Florida form Employee Proprietary Information        ARCH              1.70
                                                                                                        and Inventions Assignment Agreement. [1.7]
IRONCLAD.22        09/19/2017     44   A    1                250               1.10 $         275.00    Draft Florida form Employee Proprietary Information        ARCH              1.10
                                                                                                        and Inventions Assignment Agreement. [1.1]
IRONCLAD.22        11/08/2017     44   P    1                250               0.20 $          50.00    Attention to correspondence regarding closing checklist.       146           0.20
                                                                                                        [.2]

Total for Timekeeper 44                              Billable                  3.00 $         750.00    Grace H. Kim                                                                 3.00
                                                                                                                                                                                $       750.00


Timekeeper 53 Neil Elan
IRONCLAD.22        10/11/2017     53   P    1                425               2.00 $         850.00    Initial legal research regarding accounting malpractice            44                                      2.00
                                                                                                        and contract breach under New York law. [2.0]
IRONCLAD.22        10/11/2017     53   P    1                425               0.30 $         127.50    Meeting regarding engagement letter and accounting                 45                                      0.30
                                                                                                        malpractice and contract breach claims. [0.3]
IRONCLAD.22        10/12/2017     53   P    1                425               2.00 $         850.00    Further legal research regarding accounting                        46                                      2.00
                                                                                                        malpractice and breach of contract. [2.0]
IRONCLAD.22        10/13/2017     53   P    1                425               3.00 $       1,275.00    Begin to prepare Memorandum regarding Ironclad's                   47                                      3.00
                                                                                                        causes of action against BDO. [3.0]
IRONCLAD.22        10/13/2017     53   P    1                425               4.00 $       1,700.00    Further preparation of Memorandum regarding                        48                                      4.00
                                                                                                        Ironclad's causes of action against BDO. [4.0]
IRONCLAD.22        10/16/2017     53   P    1                425               5.30 $       2,252.50    Finalize Memorandum regarding claims against BDO                   55                                      5.30
                                                                                                        and final legal research regarding same. [5.3]
IRONCLAD.22        10/27/2017     53   P    1                425               3.00 $       1,275.00    Legal research regarding faithless servant doctrine and            82                                      3.00
                                                                                                        forfeiting of stock options. [3.0]
IRONCLAD.22        11/02/2017     53   P    1                425               2.00 $         850.00    Review and finalize Memorandum regarding accounting                85                                      2.00
                                                                                                        malpractice and breach of contract against BDO. [1.5]

Total for Timekeeper 53                              Billable                 21.60 $       9,180.00    Neil Elan                                                                                                 21.60
                                                                                                                                                                                                                $ 9,180.00

                                                                                   GRAND TOTALS

                                                     Total                   326.70 $    175,652.50                                                                                      196.10         34.60          24.00              72.00
                                                                                                                                                                                $   111,846.00    $ 8,720.00    $ 10,584.00    $     44,502.50
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IRONCLAD.15      09/13/2017      1   A                   $          436.68    Service Fee - BLG (IVE DESIGN for Ironclad Invoice IP711963)         ARCH
IRONCLAD.15      09/13/2017      1   A                   $          436.68    Service Fee - BLG (IVE for IRONCLAD Invoice IP711964)                ARCH
IRONCLAD.15      09/14/2017      1   A                   $          330.00    Service Fee - R.K. DEWAN & CO. (IRONCLAD & KONG (word) in            ARCH
                                                                              classes 9,28 invoice M/17/7194)
IRONCLAD.15      09/20/2017      1   A                   $          694.40    Service Fee - Rouse & Company (IRONCLAD in class 9 Invoice           ARCH
                                                                              10780465)
IRONCLAD.15      09/20/2017      1   A                   $          338.00    Service Fee - Rouse & Company (KONG in class 9 Invoice 10780464)     ARCH
IRONCLAD.01      09/30/2017      1   A                   $           82.41    Service Fee - Thomson Reuters - West (West Law Research August       ARCH
                                                                              2017)
IRONCLAD.15      09/30/2017      1   A                   $          853.21    Service Fee - Dannemann Siemsen Advogados (KONG TM in class 25       ARCH
                                                                              Invoice 1016499)
IRONCLAD.15      09/30/2017      1   A                   $          853.21    Service Fee - Dannemann Siemsen Advogados (IRONCLAD in class         ARCH
                                                                              25 Invoice 1016500)
IRONCLAD.22      10/23/2017      1   P                   $           30.17    Service Fee - Federal Express (Delivery to QBE Insurance Manager)    ARCH
IRONCLAD.22      10/23/2017      1   P                   $           27.18    Service Fee - Federal Express (Delivery to Todd Dillon)              ARCH
IRONCLAD.22      10/23/2017      1   A                   $          130.00    Service Fee - R.K. DEWAN & CO. (IRONCLAD in class 23 Invoice         ARCH
                                                                              M/17/8180)
IRONCLAD.22      10/24/2017      1   A                   $          818.00    Service Fee - Rouse & Company (KONG in class 25 Invoice              ARCH
                                                                              10786089)
IRONCLAD.22      10/24/2017      1   A                   $          226.94    Service Fee - Rouse & Company (IRONCLAD in class 9 Invoice           ARCH
                                                                              10786087)
IRONCLAD.22      10/24/2017      1   A                   $          181.19    Service Fee - Rouse & Company (IRONCLAD & Device in class 9          ARCH
                                                                              Invoice 10786088)
IRONCLAD.22      10/26/2017      1   A                   $          215.00    Service Fee - Telos Legal Corp. (NV SOS certified copies Invoice     ARCH
                                                                              102617611LA)
IRONCLAD.22      10/30/2017      1   A                   $          325.00    Service Fee - U.S. Patent & Trade Office (VISUAL ENGINEERING in      ARCH
                                                                              class 25 serial number 86737038)
IRONCLAD.22      10/31/2017      1   A                   $          125.00    Service Fee - U.S. Patent & Trade Office (WORKBOOTS FOR YOUR         ARCH
                                                                              HANDS Serial number 86298262)
IRONCLAD.22      11/01/2017      1   A                   $          208.24    Service Fee - Thomson Reuters - West (Research Charges October       ARCH
                                                                              2017)
IRONCLAD.22      11/07/2017      1   P                   $          130.00    Service Fee - R.K. DEWAN & CO. (KONG word in class 25 Invoice        ARCH
                                                                              17/8717)
IRONCLAD.22      11/07/2017      1   P                   $          137.00    Service Fee - Telos Legal Corp. (CA SOS filing fees Invoice          ARCH
                                                                              103117688LA)
IRONCLAD.22      11/14/2017      1   A                   $           75.00    Service Fee - U.S. Patent & Trade Office (TS1 - State formed         ARCH
                                                                              correction for Registration number 4433852)
IRONCLAD.22      11/14/2017      1   A                   $           69.83    Service Fee - Federal Express (Delivery to Division of Corporation   ARCH
                                                                              Finance Securities and Exchange Commission)
IRONCLAD.22      11/14/2017      1   A                   $           25.00    Service Fee - U.S. Patent & Trade Office (TS1 - State formed         ARCH
                                                                              correction for Registration number 4433852)
IRONCLAD.22      11/17/2017      1   A                   $          259.00    Service Fee - American Express (S & P Global New York)               ARCH
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Client           Date           Tmk P Task Code   Rate    Amount                                                                                Ref #
IRONCLAD.22      11/27/2017      1 A 17                   $          530.00    Service Fee - Telos Legal Corp. (CA/NV SOS Filing Fees Invoice   ARCH
                                                                               111617938LA)
IRONCLAD.22      11/30/2017      1   A   17               $         2,119.08   Service Fee - Rouse & Company (KONG in class 25 Invoice          ARCH
                                                                               10792599)
IRONCLAD.22      11/30/2017      1   A   17               $          841.00    Service Fee - Rouse & Company (KONG in class 9 Invoice           ARCH
                                                                               10792856)
IRONCLAD.22      12/01/2017      1   A   17               $           27.04    Service Fee - Thomson Reuters - West (Sept 2017 Research         ARCH
                                                                               Charges)
IRONCLAD.22      12/01/2017      1   A   17               $           18.07    Service Fee - Thomson Reuters - West (November 2017 Research     ARCH
                                                                               Charges)
IRONCLAD.22      12/12/2017      1   A   17               $          730.70    Service Fee - Rouse & Company (KONG in class 9 Invoice           ARCH
                                                                               10794801)
IRONCLAD.22      12/14/2017      1   A   17               $          413.77    Service Fee - BLG (GLOVE design for IRONCLAD Invoice IP721310)   ARCH
IRONCLAD.22      12/31/2017      1   A   17               $          280.00    Service Fee - Reed Smith, LLP (Services May 2017)                ARCH
IRONCLAD.22      02/01/2018      1   P   17               $          200.00    Service Fee - American Express (Regulatory Filing Fee)                   31
IRONCLAD.22      03/03/2018      1   P                    $          117.50    Service Fee - (Court Call Service Fee Hearing With L Wharton)            33
IRONCLAD.22      03/16/2018      1   P   17               $          306.50    Service Fee - Telos Legal Corp. (NV/CA SOS Filing Dissolution            32
                                                                               Invoice 022818535LA)

                                                  Total   $        12,590.80
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PRACTICE AREAS
BUSINESS LITIGATION

                                                                                                         Group Chairperson
                                                                                                         MICHAEL SHERMAN

                                                                                                         msherman@stubbsalderton.com


                                                                                                         The Firm’s business litigators have
                                                                                                         significant depth and breadth of resources
                                                                                                         and a detailed knowledge of clients’
                                                                                                         industries and business concerns. As trusted
                                                                                                         counselors to middle market businesses, and
                                                                                                         particularly early stage, growth companies
                                                                                                         and entrepreneurs, we understand that how
                                                                                                         a company or entrepreneur handles dispute
                                                                                                         risk oftentimes is the difference between
                                                                                                         business success and failure.




                           LOS ANGELES                                                  SANTA MONICA
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    PRACTICE AREAS
    BUSINESS LITIGATION
    CONTINUED




    Litigation is often about efficiently analyzing complex legal                                                       Our business litigators have represented household
    and business challenges, and understanding litigation risk.                                                         name     Fortune 500 companies, middle market companies,
    All too often attorneys think and express themselves                                                                and emerging growth companies and entrepreneurs. Our
    in terms of “cause and effect” or “action/reaction.”                                                                business litigators along with the other attorneys at the
    While our business       litigators have impressive records as                                                      Firm seek to forge long term relationships with our clients
    trial lawyers, we additionally focus on achieving creative,                                                         throughout their evolutionary path. We deliver efficiency and
    efficient, cost-effective solutions for our clients.                                                                value to every client we serve through a well-defined
                                                                                                                        budget and clear communication about their case. Team
    Of course, there are times that disputes cannot be                                                                  members include:
    quickly resolved, and our clients face the prospect of a
    trial or an arbitration that may “go all the way”. Our
    attorneys have deep pre-trial, trial and alternative
    dispute resolution experience in connection with both
    state and federal court actions Our attorneys can take                                                              -   MICHAEL SHERMAN
    tough cases to trial or arbitration, and win.

                                                                                                                        - HARRIS COHEN

                                                                                                                        - BARAK KAMELGARD
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PRACTICE AREAS
CORPORATE & BUSINESS MATTERS


                                                                                                We provide a broad range of services
                                                                                                relating to corporate and business
                                                                                                matters, including corporate and other
                                                                                                entity formation, joint venture and
                                                                                                strategic partnership transactions, stock
                                                                                                incentive plans, executive and other
                                                                                                employment agreements, and commercial
                                                                                                and business agreements. The Firm acts to
                                                                                                assess clients’ business needs and develop
                                                                                                innovative legal strategies to help them
                                                                                                achieve their goals, directly undertaking those
                                                                                                matters for which the Firm has substantial
                                                                                                expertise, and identifying and managing
                                                                                                the most appropriate legal resources to
                                                                                                handle specialty areas outside of the Firm’s
                                                                                                core discplines.




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PRACTICE AREAS
PUBLIC SECURITIES PRACTICE



                                                                                               Group Chairperson
                                                                                               JOHN MCILVERY
                                                                                                   jmcilvery@stubbsalderton.com

                                                                                               We cover a wide-range of matters for
                                                                                               existing public companies and underwriters,
                                                                                               as well as private companies contemplating
                                                                                               “going public.”

                                                                                                        PUBLIC SECURITIES COMPLIANCE

                                                                                               -        CORPORATE GOVERNANCE COUNSELING

                                                                                                        ALTERNATIVE PUBLIC OFFERINGS

                                                                                              -       SEC FIXED FEE




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    PRACTICE AREAS
    PUBLIC SECURITIES PRACTICE


    Corporate Governance Counseling                                                                                     -   Advising    on   stock   exchange   requirements,   monitoring
    CONTINUED                                                                                                               administrative proceedings related to SEC and
                                                                                                                            Financial Industry Regulatory Authority (FINRA)
    Our public securities attorneys provide the following                                                                   enforcement actions, and tracking significant legislative
    corporate governance services:                                                                                          developments and judicial decisions affecting enforcement
                                                                                                                            of federal securities laws and state corporate laws.
    -   Advising clients on corporate governance and disclosure
                                                                                                                        - Advising privately held companies pursuing public
        requirements of the Securities and Exchange                                                                     offerings and exit strategies on compliance with state
        Commission (SEC) and the relevant stock exchanges.                                                              corporate law, as well as SEC, SOX, and national stock
                                                                                                                        exchange requirements.
    -   Monitoring the rule-making activities and actions of the SEC,
        the Financial Accounting Standards Board (FASB) and
        Public Company Accounting Oversight Board (PCAOB),
        and counseling clients on the implications of emerging
        securities laws and accounting and auditing standards.

    -   Advising on fiduciary duties of directors and special and

        independent committees, including with respect to
        related- party transactions, executive compensation,
        acquisition proposals, and other transaction that
        might give rise to potential conflicts of interest.

    -   Advising clients on SEC reviews, enforcement actions, SEC

        requirements for securities offerings and
        corporate disclosures, and Sarbanes-Oxley (SOX)-related
        issues.
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    PRACTICE AREAS
    PUBLIC SECURITIES PRACTICE


    Corporate Governance Counseling                                                                                     -   Advising    on   stock   exchange   requirements,   monitoring
    CONTINUED                                                                                                               administrative proceedings related to SEC and
    Our public securities attorneys provide the following                                                                   Financial Industry Regulatory Authority (FINRA)
    corporate governance services:                                                                                          enforcement actions, and tracking significant legislative
                                                                                                                            developments and judicial decisions affecting enforcement
    -   Advising clients on corporate governance and disclosure                                                             of federal securities laws and state corporate laws.

        requirements of the Securities and Exchange                                                                     - Advising privately held companies pursuing public
        Commission (SEC) and the relevant stock exchanges.                                                              offerings and exit strategies on compliance with state
    -   Monitoring the rule-making activities and actions of the SEC,                                                   corporate law, as well as SEC, SOX, and national stock
                                                                                                                        exchange requirements.
        the Financial Accounting Standards Board (FASB) and
        Public Company Accounting Oversight Board
        (PCAOB), and counseling clients on the implications of
        emerging securities laws and accounting and auditing
        standards.
    -   Advising on fiduciary duties of directors and special and

        independent committees, including with respect to
        related- party transactions, executive compensation,
        acquisition proposals, and other transaction that
        might give rise to potential conflicts of interest.
    -   Advising clients on SEC reviews, enforcement actions, SEC

        requirements for securities offerings and
        corporate disclosures, and Sarbanes-Oxley (SOX)-related
        issues.
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    PRACTICE AREAS
    PUBLIC SECURITIES PRACTICE


    Alternative Public Offerings                                                                                         Our public securities attorneys provide the following services
                                                                                                                         in connection with reverse merger transactions:
    We are a leader in alternative capital raising techniques,                                                           - Assisting clients in locating an existing public reporting
    such as registered direct offerings, PIPEs, and reverse                                                              “shell” company, that has little or no assets or business, is
    mergers into public “shells”, and we have been in the                                                                current in its periodic reporting obligations with the SEC, has
    forefront of this rapidly developing area. Since early 2001,                                                         no or only limited liabilities that can be confirmed with some
    the market for traditional, firmly underwritten initial                                                              certainty in
    public offerings of micro-cap and small-cap companies in
                                                                                                                         -   due diligence, preferably has common stock quoted on
    the United States has been significantly constrained. There
                                                                                                                             the Over-The-Counter Bulletin Board held by at least 400
    are fewer and fewer underwriters interested in investing
                                                                                                                             shareholders of record, and does not need to first obtain
    the resources to bring micro-cap and small-cap
                                                                                                                             stockholder approval to consummate any aspect of the
    companies to market, which has cut-off what once was a
                                                                                                                             transaction.
    viable financing source for smaller companies. In recent
    years, an alternative to the traditional, firmly                                                                     -   Introducing clients to other professionals with experience
    underwritten initial public offering has emerged. The
                                                                                                                             in reverse merger transactions, including owners and bro-
    “reverse merger” transaction, when coupled with a PIPE
                                                                                                                             kers of shell companies, accounting firms, placement
    financing, allows smaller companies to access a large pool
                                                                                                                             agents, investors, and investor relations firms.
    of capital without the need of an underwriter. While a typical
    transaction still requires the assistance of a “place-ment agent”                                                    -   Conducting due diligence on the shell company, and
    to assist in raising capital, if structured properly, the                                                                restructuring the shell company to the extent
    placement agent is not an “underwriter” under United States                                                              necessary in advance of the transaction.
    securities laws, and thus not subject to the liability that
    has driven many traditional underwriters from the market for                                                         -   Structuring, negotiating and documenting the reverse merger
    micro- cap and small-cap initial public offerings.                                                                       transaction documents, including the acquisition
                                                                                                                             agreement and all ancillary agreements.
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    PRACTICE AREAS
    PUBLIC SECURITIES PRACTICE



    Alternative Public Offerings                                                                                         SEC Fixed Fee
    CONTINUED
                                                                                                                         We offer legal services to existing publicly traded companies
    -   Advising on compliance with securities laws and stock                                                            in connection with SEC regulatory compliance on a monthly
        exchange rules.                                                                                                  “Fixed Fee” basis in lieu of our standard hourly fee
                                                                                                                         arrangements.
    -   Assisting in the preparation and filing of all reports to be
        filed with the SEC in connection with the reverse                                                                Our clients can pick and choose from a suite of services
        merger transaction, including all Section 16 forms,                                                              that they would like us to provide for a Fixed Fee, which often
        Forms 8-K, and Schedules 13D, 14f-1 and 14C.                                                                     includes the following:

    -   Coordinating the responsibilities of management, opposing                                                        -   Exchange Act Reports. We review and comment on Forms

        counsel and the other professionals involved in the                                                                  10-K, Forms 10-Q, Forms 8-K, Forms 3, 4 and 5, and
        process, including independent auditors, promoters and                                                               Schedules 13D and 13G for approved individuals and
        placement agents.                                                                                                    investors. We assist in ensuring that all such Exchange
    -   Structuring, negotiating and documenting of the PIPE                                                                 Act reports are in compliance with applicable SEC rules.

        financing documents, including the securities                                                                    -   Annual Proxy Statements. We prepare a Proxy Statement for
        purchase agreement, registration rights agreement                                                                    the annual meeting of shareholders.
        and all ancillary agreements, and assisting in the
        preparation and filing with the SEC of the resale                                                                -   Routine SEC Communications. We coordinate all routine
        registration statement for the shares sold in the PIPE.
                                                                                                                             communications with the SEC with respect to Exchange
                                                                                                                             Act filings.
                                                                                                                         -   Securities Due Diligence. We review company documents and

                                                                                                                             information to enable comprehensive and accurate
                                                                                                                             disclosure in Exchange Act filings.
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    PRACTICE AREAS
    PUBLIC SECURITIES PRACTICE


    SEC Fixed Fee                                                                                                         At the beginning of a Fixed Fee representation, we meet
                                                                                                                          with such of the company’s key personnel as are
    CONTINUED
                                                                                                                          designated to review files and agreements for purposes of
    -   Year End Obligations. We monitor and assist in meeting year-                                                      orientation in order to gain a better insight into and
                                                                                                                          understanding of the company and its business, define and
        end disclosure and annual shareholder meeting obligations.                                                        agree upon a satisfactory client service plan, define the
    -   D&O Questionnaires. We prepare and distribute Directors’                                                          scope of our legal representation, and prioritize legal
                                                                                                                          assignments. This orientation process is included within the
        and Officers’ Questionnaires to assist in complying
                                                                                                                          Fixed Fee arrangement, and becomes the basis for
        with disclosure obligations.
                                                                                                                          establishing the amount of the Fixed Fee monthly payment.
    -   Rule 144 Opinions. Upon request, we prepare Rule 144 opinion                                                      We asses this amount annually to make sure the Fixed Fee
                                                                                                                          amount for successive years is commensurate with the
        letters to transfer agents in connection with Rule 144 sales.
                                                                                                                          services provided in the prior year.
    -   Press Release and Reg. FD. We advise with respect to
        company-drafted     press   releases,   and   Regulation
        FD compliance.

    -   Board and Shareholder Meetings. We attend and prepare
        minutes for Shareholder Meetings and quarterly
        Board Meetings.
    -   Coordination with Auditors. We coordinate with accountants

        as to the timing of the preparation of financial statements
        and related financial disclosure.
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PRACTICE AREAS
TRADEMARK &
COPYRIGHT PRACTICE                                                                           Our firm attorneys have more than 30 years
                                                                                             of experience in counseling clients on the
                                                                                             creation of brand identification, registration
                                                                                             and procure-ment of brands and creative
                                                                                             content, as well as the litigation of
                                                                                             disputed matters involving trademarks,
                                                                                             copyrights, unfair competition,         domain
                                                                                             names, websites, rights of publicity and
                                                                                             related claims.

                                                                                                       BRAND DEVELOPMENT

                                                                                                       CONTENT PROTECTION

                                                                                             -         LITIGATION

                                                                                              -    REGISTRATION

                                                                                              -        ENFORCEMENT




                        LOS ANGELES                                                     SANTA MONICA
              15260 Ventura Boulevard, 20th Floor                            1453 3rd Street Promenade, Suite 300
                  Sherman Oaks, CA 91403                                           Santa Monica, CA 90401
                     Phone: 818.444.4500                                             Phone: 310.746.9800


                                                    www.stubbsalderton.com
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    Brand Development                                                                                                   Content Protection
    Our firm attorneys are uniquely positioned to assist                                                                For those in the “Creative Community” content has always
    clients in the development of their brand strategies – from                                                         been viewed as king. Copyright protection is a right
    start-ups to established marketers. Our attorneys have                                                              provided for in the U.S. Constitution. Our attorneys and
    worked in non- legal positions, such as product brand                                                               support staff will work with clients at various stages of the
    management, sales, and advertising, and work with clients in                                                        creative process to insure that their creative output is
    the development of business plans for the establishment,                                                            protected. We work with a diverse community from
    marketing and growth of their intellectual property assets.                                                         advertisers and video producers to musicians, actors,
    Our attorneys and the support staff are prepared to conduct                                                         writers, and fine artists. In addition, we work closely
    strategic audits of existing brands as a precursor to any IP                                                        with our clients to “vet” creative works to determine that they
    asset acquisition or transfer. In addition, we work closely with                                                    do not infringe upon the work of others. The Internet has
    outside experts in the areas of valuation as well as tax-driven                                                     created an enormous marketplace for content and for
    structuring on a domestic and international basis.                                                                  those pirates who would seek to infringe upon the rights of
                                                                                                                        the creators. We develop protection programs including
                                                                                                                        monitoring of the Internet, notice and take-down
                                                                                                                        programs to try to control the amount of content piracy
                                                                                                                        that our clients find on the Internet. The practice group
                                                                                                                        also represents the full range of clients in copyright
                                                                                                                        litigation matters in the federal courts.
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    Litigation                                                                                                        Registration
    Our firm represents clients in the courts throughout                                                              Our firm provides its clients with a complete range
    California and across the United States. Our attorneys                                                            of registration services for the protection of their
    have years of experience in all aspects of intellectual                                                           trade-marks in the United States and around the
    property litigation from development of litigation strategy,                                                      world. Our practice involves not only the
    discovery planning, creation of pleadings through to                                                              development of clearance strategies, but legal
    the conducting of trials. Our litigation clients have                                                             opinions with regard to availability of trademarks for
    represented diverse economic and creative interests                                                               purposes of registration and use. Our lawyers and
    from Fortune 500 companies to individual artists.                                                                 trademark paralegals work with our clients to file
    Litigation matters have included claims of trademark                                                              appropriate applications for trademark protection at
    infringement, copyright infringement, counterfeiting and                                                          the United States Patent & Trademark Office as well as
    piracy, trade dress infringement, unfair competition,                                                             registrations in countries throughout the world. We
    violations of rights of publicity and privacy, licensing                                                          also work with our clients to register their creative
    and merchandising disputes, domain name infringement,                                                             works with the U.S. Copyright Office as well as with
    web site infringement and other Internet-related                                                                  various guilds and other government agencies
    matters, breach of contract,       commercial disputes,                                                           where appropriate. With respect to patent
    business disparagement, business torts, idea submission,                                                          registrations, our firm works with several firms who
    and libel and slander claims.                                                                                     have the expertise in the particular fields of invention,
                                                                                                                      from mechanical to bio-tech, to be certain that our
                                                                                                                      clients’ novel works are protected.
                                                                                                                      Representing clients in inter-partes proceedings
                                                                                                                      before the United States Trademark Trial and Appeal
                                                                                                                      Board. Our attorneys have extensive experience
                                                                                                                      representing clients
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                                                                                                                       searches as a quick preliminary screening
    Registration                                                                                                       mechanism as well as outside professional
    CONTINUED
                                                                                                                       vendors for more comprehensive searches.
    whose registrations are being opposed or who are                                                                   -     Preparing and filing applications to register trademarks
    opposing other applications for trademarks likely to
                                                                                                                       with the United States Patent & Trademark Office, as
    cause confusion to the consuming public. We also
                                                                                                                       well as state authorities, where appropriate. For
    represent both Petitioners and Registrants in
                                                                                                                       example, our attorneys and trained trademark
    cancellation proceedings before the same federal
                                                                                                                       paralegals will engage in the filing of a variety of
    body.
                                                                                                                       trademarks, design marks and logos for goods in
    We offer the following services:
                                                                                                                       services in more than 45 International
    -   Counseling with respect to the selection and clearance                                                         Classifications before the United States Patent
                                                                                                                       and Trademark Office. Our firm also tracks the
    of trademarks, including assignments of                                                                            applications through the registration and beyond
    potentially conflicting trademarks. For example,                                                                   through the use of an in-house trademark database.
    our attorneys worked with a major cable
                                                                                                                       -     Directing   a   network   of   Stubbs   Alderton’s   foreign
    television channel in the selection of the name for
    its new fashion and home- lifestyle cable channel.                                                                 associates in preparing and filing applications
                                                                                                                       to register trademarks worldwide. Our seasoned
    - Counseling with respect to appropriate                                                                           attorneys have developed working relationships
    searching strategies.    For example, often clients                                                                with hundreds of foreign trademark lawyers who
    will select a number of possible marks for use in                                                                  assist our clients in obtaining protection in
    connection with their business. We often assist                                                                    hundreds of countries and territories. As global
    clients in determining the most cost-effective way of                                                              trademark registration programs require substantial
    searching for conflicts and clearing the marks whether                                                             resources to establish, we work with our clients to
    it be for several new film and entertainment                                                                       prioritize those foreign jurisdictions with respect to
    companies or an air cargo carrier. We utilize both                                                                 business activity, future market growth, and
    in-house generated on-line                                                                                         likelihood of infringing activity.
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    PRACTICE AREAS
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    Enforcement                                                                                                         Among our enforcement activities are:
                                                                                                                        -   Obtaining and executing nationwide ex parte seizure orders;
    Our attorneys have been leaders in conceiving and
    implement-ing programs to protect client intellectual                                                               and other unique remedies such as renewable
    property rights. They are nationally recognized for their                                                           orders, asset-freezing orders, and civil contempt orders.
    particular efforts in battling counterfeiting and piracy in                                                         -   Obtaining     and      executing      ex   parte     seizure   orders
    the United States and overseas. We have implemented                                                                 simultaneously at numerous locations.
    these important enforcement programs, domestically,                                                                 -   For “events” such as the release of blockbuster films or
    internationally, and online for a wide variety of clients                                                           television shows, music concerts, and major sporting
    and with respect to numerous properties-from movies and                                                             events (e.g. the Rose Bowl game, the Major League
    sports teams and trade associations, to luxury goods                                                                Baseball All-Star Game and playoff games),
    from the world’s most famous designers, to consumer                                                                 combating infringement through nationwide street
    and personal care products from manufacturers around                                                                sweeps by investigators, criminal enforcement, U.S.
    the world. Our attorneys work closely with our clients to                                                           Customs enforcement, nationwide ex parte seizure
    develop strategic plans, including budgeting, specifically                                                          orders, and voluntary relinquishments.
    tailored to protect our clients’ rights in their valuable                                                           -   Maintaining    programs       which    address      infringement   by
    intellectual property.                                                                                              numerous individuals and companies                    throughout
                                                                                                                        the United States and worldwide.
                                                                                                                        -   Litigating against non-cooperative infringers.
                                                                                                                        -   Providing   training    and   working      with    law   enforcement
                                                                                                                        agencies such as the local police or U.S. Customs
                                                                                                                        to combat counterfeiting and piracy.
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    PRACTICE AREAS
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    Enforcement
    CONTINUED


    -   Working with law enforcement agencies and U.S. Customs
    to combat criminal infringement and illegal importation
    of infringing items.

    -   Protecting our clients’ rights with respect to venue owners
    where infringing and counterfeit products are sold.

    -   Employing and supervising investigators worldwide who
    uncover and report intellectual property
    infringements and who gather vital information
    necessary to combat this infringement.

    -   Obtaining voluntary relinquishment of infringing products.

    -   Maintaining a detailed database of infringers.

    -   Assisting our clients in developing public relations and
    advertising campaigns aimed at educating consumers
    re-garding intellectual property rights.

    -   Implementing hotlines for consumers to report intellectual
    property infringement.
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                        EXHIBIT "4"
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                                      2017 BILLING RATES

              Class Year                 Emerging Growth Rate   Standard Corporate Rate
   Associate Intern (Class of 2016)              $250                    $300
         2nd (Class of 2015)                     $350                    $400
         3rd (Class of 2014)                     $400                    $450
         4th (Class of 2013)                     $460                    $510
         5th (Class of 2012)                     $485                    $535
         6th (Class of 2011)                     $505                    $555
         7th (Class of 2010)                     $525                    $575
         8th (Class of 2009)                     $550                    $600
           Senior Counsel                        $575                    $625



                             Attorney                  EG        Standard
          Akselrud, Greg (Partner)                       $650          $700
          Alderton, Scott (Partner)                      $650          $700
          Bagley, Adam (Senior Counsel 2008)             $575          $625
          Bergmann, Joshua (2013)                        $460          $510
          Carroll, Stephen (Paralegal)                   $250          $300
          Cherkassky, Caroline (Senior Counsel 2010)     $575          $625
          Cohen, Harris (Of Counsel)                     $475          $525
          Cory, Heather                                  $250          $300
          Correia, Gina (2015)                           $350          $400
          DeBré, Kevin (Partner)                         $650          $700
          Duckett, Ryan (2012)                           $485          $535
          Feldman, Nicholas (2014)                       $400          $450
          Friedman, Jonathan (Partner)                   $600          $650
          Galer, Scott (Partner)                         $650          $700
          Gatien, Konrad (Partner)                       $600          $650
          Gonzaque, Monique (Paralegal)                  $250          $300
          Gersh, Jeff (Partner)                          $600          $650
          Greaney, Sean (Partner)                        $600          $650
          Harris, David (Senior Counsel 2006)            $575          $625
          Hodes, Jonathan (Partner)                      $670          $720
          Kamelgard, Barak (2014)                        $400          $450
          Keats, Tony (Partner)                          $625          $675
          Kim, Grace (Associate Intern 2016)             $250          $300
          Laffey, Kelly (2013)                           $460          $510
          Markiles, Murray (Partner)                     $650          $700
          McIlvery, John (Partner)                       $650          $700
          Morigi, Christine (Paralegal)                  $250          $300
          Orme Mann, Darrell (Paralegal)                 $250          $300
          Sedivy, Jim                                    $495          $545
          Sherman, Michael (Partner)                     $625          $675
          Solomon, Tami (Paralegal)                      $250          $300
          Shaff, Mike (Of Counsel)                       $600          $650
          Stubbs, Joe (Partner)                          $670          $720
          Wharton, Louis (Partner)                       $600          $650
          Ziegler, Julie (Paralegal)                     $250          $300
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                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled FINAL APPLICATION OF STUBBS,
      ALDERTON & MARKILES, LLP FOR APPROVAL OF FEES AND REIMBURSEMENT OF
  4   EXPENSES; DECLARATION OF SCOTT ALDERTON, ESQ. will be served or was served (a) on the
      judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
  5   below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On April 3, 2018, I checked the CM/ECF docket for this bankruptcy case or
      adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
  8   receive NEF transmission at the email addresses stated below:

  9         Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
            Ron Bender rb@lnbyb.com
 10         Cathrine M Castaldi ccastaldi@brownrudnick.com
            Russell Clementson russell.clementson@usdoj.gov
 11         Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
            Matthew A Gold courts@argopartners.net
 12         Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
            Jeffrey A Krieger jkrieger@ggfirm.com,
 13         kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.com
            Samuel R Maizel samuel.maizel@dentons.com,
 14         alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kath
            ryn.howard@dentons.com
 15         Krikor J Meshefejian kjm@lnbrb.com
            Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
 16         S Margaux Ross margaux.ross@usdoj.gov
            Susan K Seflin sseflin@brutzkusgubner.com
 17         John M Stern john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
            United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
 18         Sharon Z. Weiss sharon.weiss@bryancave.com,
            raul.morales@bryancave.com;geri.anderson@bryancave.com
 19         Douglas Wolfe dwolfe@asmcapital.com

 20
      2. SERVED BY UNITED STATES MAIL: On April 3, 2018, I served the following persons and/or
 21   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
      and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 22   completed no later than 24 hours after the document is filed.
 23   Russell Clementson
      S Margaux Ross
 24   Office of the U.S. Trustee
      915 Wilshire Blvd., Suite 1850
 25   Los Angeles, CA 90017
                                                                              Service information continued on attached page
 26
 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
  1   EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
      on April 3, 2018, I served the following persons and/or entities by personal delivery, overnight mail
  2   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
  3   mail to, the judge will be completed no later than 24 hours after the document is filed.

  4   Served via Attorney Service
      Hon. Martin R. Barash
  5   United States Bankruptcy Court
      21041 Burbank Boulevard, Suite 342
  6   Woodland Hills, CA 91367

  7   I declare under penalty of perjury under the laws of the United States of America that the foregoing is
      true and correct.
  8
       April 3, 2018                         Lourdes Cruz                                /s/ Lourdes Cruz
  9    Date                                  Type Name                                   Signature

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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
